        Case 2:20-cv-00450-RMP    ECF No. 1   filed 12/07/20   PageID.1 Page 1 of 85




 1   Paul Kampmeier, WSBA #31560
 2   KAMPMEIER & KNUTSEN PLLC
     811 First Avenue, Suite 468
 3   Seattle, Washington 98104
 4   Telephone: (206) 858-6983
     Email: paul@kampmeierknutsen.com
 5
 6   Attorneys for Plaintiffs
 7
     Marla S. Fox, WSBA #45611
 8   WILDEARTH GUARDIANS
 9   P.O. Box 13086
     Portland, Oregon 97213
10
     Telephone: (651) 434-7737
11   Email: mfox@wildearthguardians.org
12
     Attorney for Plaintiff WildEarth Guardians
13
14
                          UNITED STATES DISTRICT COURT
15
                         EASTERN DISTRICT OF WASHINGTON
16
17    CONSERVATION NORTHWEST and           )
      WILDEARTH GUARDIANS,                 )
18
                                           )
19          Plaintiffs,                    )        Case Number:
20                                         )
            v.                             )
21                                         )
22    U.S. FOREST SERVICE and RODNEY )              COMPLAINT FOR
      SMOLDON, Forest Supervisor, Colville )        DECLARATORY
23
      National Forest,                     )        AND INJUNCTIVE RELIEF
24                                         )
25          Defendants.                    )
      __________________________________ )
26
27
28
29
30   COMPLAINT – 1                                                Kampmeier & Knutsen PLLC
                                                                   811 First Avenue, Suite 468
31
                                                                   Seattle, Washington 98104
32                                                                       (206) 858-6983
        Case 2:20-cv-00450-RMP         ECF No. 1   filed 12/07/20   PageID.2 Page 2 of 85




 1                                I.       INTRODUCTION.

 2         1.     This case challenges the decision of the U.S. Forest Service (the
 3
     “Forest Service”) to open one-hundred and seventeen miles of roads in the Colville
 4
 5   National Forest (the “Colville”) to all vehicle uses, including wheeled all-terrain
 6
     vehicles (“WATVs”). WATVs are recreational vehicles that can be driven on or
 7
 8   off roads and that are often driven through public forests like the Colville. In
 9
     general, forest roads in the Colville are closed to vehicle use unless the Forest
10
11   Service opens them to vehicle use through formal agency action. In 2019, the
12   Colville changed the designations for twenty-six road segments from one that only
13
14
     allowed use by highway-legal vehicles to one that allows use by all kinds of

15   vehicles, including WATVs. Although the Forest Service recognized these changes
16
     would increase access to and use of forest roads on the Colville—although it
17
18   recognized “there is much local interest from individual users, motorized user
19
     groups, and state and local government” to create loop rides “that connect areas of
20
21   interest like overlooks, recreational locations, towns and other locations”—the
22
     Forest Service failed to provide formal notice and a formal opportunity to
23
24   comment on the proposed changes, and failed to consider the environmental
25   impacts of increased WATV use in the Colville, before opening the roads.
26
           2.     This case challenges the Forest Service’s decision and the new motor
27
28   vehicle use maps the Forest Service published in 2020 to reflect the new vehicle
29
30   COMPLAINT – 2                                                     Kampmeier & Knutsen PLLC
                                                                        811 First Avenue, Suite 468
31
                                                                        Seattle, Washington 98104
32                                                                            (206) 858-6983
        Case 2:20-cv-00450-RMP      ECF No. 1   filed 12/07/20   PageID.3 Page 3 of 85




 1   class designations. Plaintiffs allege Defendants violated Section 7 of the

 2   Endangered Species Act, 16 U.S.C. § 1536, by failing to consider whether the new
 3
     designations may affect imperiled wildlife, including Canada lynx, bull trout,
 4
 5   grizzly bears, woodland caribou, and Western yellow-billed cuckoo. Plaintiffs
 6
     allege Defendants violated the National Environmental Policy Act, 42 U.S.C. §§
 7
 8   4321 et seq. (“NEPA”), by failing to provide sufficient public notice and an
 9
     opportunity to comment on the proposed action before adoption, and by failing to
10
11   meaningfully consider the environmental impacts of the new road designations.
12   And Plaintiffs allege Defendants violated the Forest Service’s Travel Management
13
14
     Rule, 36 C.F.R. Part 212 (“TMR”), by failing to conduct a NEPA process and

15   consider relevant criteria before revising the road designations.
16
           3.     The Forest Service adopted the new motor vehicle use designations
17
18   without grappling with the consequences of the changes through a public,
19
     environmental review process, as governing law requires. This approach stands in
20
21   stark contrast with how the Colville and other forests typically revise motorized
22
     use designations. Plaintiffs are concerned that the Defendants’ failures here may
23
24   harm the Colville, and may also encourage the adoption of future revisions without
25   the required public process and environmental review. Accordingly, Plaintiffs
26
     seek declaratory and injunctive relief to invalidate the new road use designations
27
28   and use maps, as well as an award of costs and attorneys’ fees.
29
30   COMPLAINT – 3                                                  Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
        Case 2:20-cv-00450-RMP      ECF No. 1     filed 12/07/20   PageID.4 Page 4 of 85




 1                         II.    JURISDICTION AND VENUE.

 2         4.     Plaintiffs bring this action pursuant to the citizen suit provisions of the
 3
     Endangered Species Act, 16 U.S.C. § 1540(g), and the judicial review provisions
 4
 5   of the Administrative Procedure Act, 5 U.S.C. §§ 701-706 (the “APA”). This Court
 6
     has jurisdiction pursuant to 16 U.S.C. § 1540(g) and 28 U.S.C. § 1331 (federal
 7
 8   question), § 2201 (declaratory judgment), and § 2202 (further relief), § 2412 (costs
 9
     and fees) and § 1346 (United States as a defendant). Defendants’ 2019 decision to
10
11   change road designations in the Colville is final agency action that is subject to
12   judicial review under the APA. The motor vehicle use maps Defendants published
13
14
     in 2020 and that adopt the 2019 changes are final agency actions that are subject to

15   judicial review under the APA. An actual, justiciable controversy exists between
16
     Plaintiffs and Defendants.
17
18         5.     Venue is proper in this district under 28 U.S.C. § 1391 because all or
19
     a substantial part of the events or omissions giving rise to the claims herein
20
21   occurred within this judicial district, in Colville, Washington, and because
22
     Defendants’ offices are located in this district.
23
24         6.     The United States waived sovereign immunity in this action pursuant
25   to 5 U.S.C. § 702.
26
           7.     Plaintiffs satisfied the jurisdictional requirements for bringing their
27
28   Endangered Species Act (“ESA”) claims. In accordance with 16 U.S.C. §
29
30   COMPLAINT – 4                                                    Kampmeier & Knutsen PLLC
                                                                       811 First Avenue, Suite 468
31
                                                                       Seattle, Washington 98104
32                                                                           (206) 858-6983
        Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.5 Page 5 of 85




 1   1540(g)(2), by certified letter dated and postmarked September 14, 2020, Plaintiffs

 2   notified Defendants of their alleged violations of the ESA and of Plaintiffs’ intent
 3
     to sue for those violations (“Notice Letter”). More than sixty days have passed
 4
 5   since Plaintiffs mailed the Notice Letter. A copy of the Notice Letter is attached to
 6
     this complaint as Exhibit 1 and is hereby incorporated by reference.
 7
 8                                     III.   PARTIES.
 9
           8.     Plaintiff CONSERVATION NORTHWEST is a regional conservation
10
11   and membership organization based in Washington State with a mission to protect
12   and connect habitat, and to restore imperiled wildlife, from the Pacific Coast to the
13
14
     Canadian Rockies. Conservation Northwest has over 17,000 members and

15   supporters, many of whom visit and enjoy the Colville National Forest.
16
     Conservation Northwest maintains offices around the state of Washington,
17
18   including in Deer Park and Chewelah in northeast Washington. Conservation
19
     Northwest engages in science-based advocacy, and works on the ground to engage
20
21   scientists, agencies, and communities to develop and enact projects that protect
22
     wildlife habitat and restore ecological resilience in forests and watersheds.
23
24   Conservation Northwest has a deep and longstanding interest in the Colville
25   National Forest, where it has worked in collaboration with stakeholders and the
26
     Forest Service on multiple projects related to forest and aquatic restoration,
27
28   motorized recreation, and wildlife research and recovery. Conservation Northwest
29
30   COMPLAINT – 5                                                   Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
        Case 2:20-cv-00450-RMP     ECF No. 1    filed 12/07/20   PageID.6 Page 6 of 85




 1   is an active voice strongly advocating for Canada lynx, grizzly bear, wolf,

 2   wolverine, and woodland caribou conservation. Conservation Northwest and its
 3
     members have procedural interests in ensuring that all Forest Service activities
 4
 5   comply with all applicable federal statutes and regulations.
 6
           9.     Plaintiff WILDEARTH GUARDIANS (“Guardians”) is a non-profit
 7
 8   membership organization dedicated to protecting and restoring the wildlife, wild
 9
     places, wild rivers, and health of the American West. Guardians has more than
10
11   188,000 members and supporters across the West, including many who reside in
12   the state of Washington and who visit the Colville. Guardians maintains offices in
13
14
     several states, including in Seattle, Washington. Guardians has organizational

15   interests in the proper and lawful management of motorized use on the Colville.
16
     Guardians has a long history of working to protect and restore native wildlife
17
18   species across the West, including but not limited to Canada lynx, bull trout,
19
     grizzly bears, woodland caribou, and Western yellow-billed cuckoo. Guardians and
20
21   its members have procedural interests in ensuring that all Forest Service activities
22
     comply with all applicable federal statutes and regulations.
23
24         10.    Plaintiffs bring this action on their own behalf and on behalf of their
25   members and supporters, some of whom live in or near areas affected by the new
26
     motorized use designations on the Colville or visit the area for hiking, camping,
27
28
29
30   COMPLAINT – 6                                                  Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
        Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.7 Page 7 of 85




 1   photography, seeking solitude in nature, observing wildlife in quiet, secure, native

 2   ecosystems, and other recreational and professional pursuits.
 3
           11.    Plaintiffs’ members, supporters, and staff gain aesthetic enjoyment
 4
 5   from observing, attempting to observe, hearing, seeing evidence of, or studying
 6
     Canada lynx, bull trout, grizzly bears, or Western yellow-billed cuckoo, including
 7
 8   observing signs of these species’ presence in the Colville and surrounding areas
 9
     and observing ecosystems enhanced by these animals. The opportunity to possibly
10
11   view Canada lynx, bull trout, grizzly bears, woodland caribou, or Western yellow-
12   billed cuckoo, or signs of these animals, in these areas is of significant interest and
13
14
     value to Plaintiffs’ members, supporters, and staff, and increases their use and

15   enjoyment of public lands. Plaintiffs, as well as their members, supporters, and
16
     staff, are dedicated to ensuring the long-term survival and recovery of the Canada
17
18   lynx, bull trout, grizzly bears, woodland caribou, and Western yellow-billed
19
     cuckoo throughout the contiguous United States, and specifically in the Pacific
20
21   Northwest.
22
           12.    Plaintiffs’ members, supporters, and staff have engaged in the
23
24   activities described above in the past, and intend to do so again in the near future.
25   Defendants’ decision approves new motorized use designations and activities that
26
     will significantly degrade the natural values currently enjoyed by Plaintiffs and
27
28   their members, supporters, and staff. Increased motorized use will disrupt
29
30   COMPLAINT – 7                                                   Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
        Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.8 Page 8 of 85




 1   otherwise quiet landscapes, disturb wildlife, and degrade habitat. The legal

 2   violations alleged in this Complaint therefore cause direct injury to the aesthetic,
 3
     conservation, recreational, scientific, educational, inspirational, and wildlife
 4
 5   preservation interests of Plaintiffs and their members, supporters, and staff.
 6
           13.    Plaintiffs’ members, supporters, and staff have an interest in ensuring
 7
 8   the Forest Service complies with all applicable federal statutes and regulations in
 9
     making new motorized use designations on public lands. Plaintiffs and their
10
11   members, supporters, and staff have an interest in ensuring the Forest Service
12   follows legally required procedures that involve the public, and that it takes the
13
14
     requisite hard look at impacts from new motorized use designations to mitigate

15   potential harms to quiet recreation, imperiled wildlife, and important wildlife
16
     habitat on the Colville. Plaintiffs’ members, supporters, and staff have an interest
17
18   in ensuring that the Forest Service fulfills its obligation to manage the Colville in a
19
     manner that does not impair native wildlife that inhabit these National Forest lands.
20
21         14.    The interests of Plaintiffs, their members, supporters, and staff have
22
     been, are being, and, unless the relief prayed for in this Complaint is granted, will
23
24   continue to be adversely and irreparably injured by Defendants’ failure to comply
25   with federal law. These are actual, concrete injuries, traceable to Defendants’
26
     conduct, that would be redressed by the requested relief. Plaintiffs have no other
27
28   adequate remedy at law.
29
30   COMPLAINT – 8                                                   Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
          Case 2:20-cv-00450-RMP    ECF No. 1   filed 12/07/20   PageID.9 Page 9 of 85




 1           15.   Defendant U.S. FOREST SERVICE is a federal agency of the United

 2   States within the U.S. Department of Agriculture. The Forest Service is responsible
 3
     for managing National Forest lands, including the Colville, and ensuring that
 4
 5   Forest Service activities comply with the ESA, NEPA, and the TMR. The Forest
 6
     Service exercised discretion or control in making the decisions challenged herein.
 7
 8           16.   Defendant RODNEY SMOLDON is the Forest Supervisor for the
 9
     Colville. Defendant Smoldon is responsible for management of the Colville and
10
11   the Colville’s compliance with the ESA, NEPA, and the TMR. Defendant Smoldon
12   exercised discretion or control in making the decisions challenged herein. Plaintiffs
13
14
     are suing Defendant Smoldon in his official capacity.

15                            IV.   LEGAL BACKGROUND.
16
     A.      The Endangered Species Act.
17
18           17.   “The ESA is ‘the most comprehensive legislation for the preservation
19
     of endangered species ever enacted by any nation.’ It represents a commitment ‘to
20
21   halt and reverse the trend toward species extinction, whatever the cost.’” Ctr. for
22
     Biological Diversity v. Zinke, 900 F.3d 1053, 1059 (9th Cir. 2018) (quoting Tenn.
23
24   Valley Auth. v. Hill, 437 U.S. 153, 180, 184 (1978)) (internal citation omitted).
25           18.   Congress enacted the ESA “to provide a means whereby the
26
     ecosystems upon which endangered species and threatened species depend may be
27
28
29
30   COMPLAINT – 9                                                  Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.10 Page 10 of 85




 1   conserved ... [and] to provide a program for the conservation of such endangered

 2   species and threatened species[.]” 16 U.S.C. § 1531(b).
 3
           19.    Sections 4(a) and 4(c) of the ESA, 16 U.S.C. §§ 1533(a), (c), require
 4
 5   the federal agencies that implement the ESA to determine whether any species is
 6
     “threatened” or “endangered” and, if so, to list that species as being subject to the
 7
 8   protections of the ESA. Section 4(a)(3) of the ESA, 16 U.S.C. § 1533(a)(3), then
 9
     requires the federal agencies that implement the ESA to designate “critical habitat”
10
11   for species listed as threatened or endangered.
12         20.    Section 7(a)(2) of the ESA requires federal agencies such as the
13
14
     Forest Service to ensure that any action they authorize, fund, or carry out is not

15   likely to jeopardize ESA-listed species or destroy or adversely modify critical
16
     habitat designated for such species. 16 U.S.C. § 1536(a)(2). The term jeopardize
17
18   means “to reduce appreciably the likelihood of both the survival and recovery of a
19
     listed species in the wild by reducing the reproduction, numbers, or distribution of
20
21   the species.” 50 C.F.R. § 402.02.
22
           21.    Before undertaking, funding, or authorizing any action that may affect
23
24   ESA-listed species or their critical habitat, the Forest Service must consult with the
25   appropriate expert fish and wildlife agency, which in the case of Canada lynx, bull
26
     trout, grizzly bears, woodland caribou, and Western yellow-billed cuckoo is the
27
28
29
30   COMPLAINT – 10                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.11 Page 11 of 85




 1   U.S. Fish and Wildlife Service (“FWS”). See 16 U.S.C. § 1536(a)(2); 50 C.F.R. §

 2   402.01(b).
 3
           22.    The ESA’s consultation requirement applies “to all actions in which
 4
 5   there is discretionary Federal involvement or control.” 50 C.F.R. § 402.03.
 6
           23.    If species listed under the ESA may be present in the area of agency
 7
 8   action, the action agency must prepare a “Biological Assessment” or “Biological
 9
     Evaluation” to determine whether a listed species may be affected by the proposed
10
11   action. See 16 U.S.C. § 1536(c)(1); 50 C.F.R. § 402.12.
12         24.    If the action agency concludes in the Biological Assessment that the
13
14
     activity is not likely to adversely affect the listed species or adversely modify its

15   critical habitat, and FWS concurs with that conclusion in a “Letter of
16
     Concurrence,” then the consultation is complete. 50 C.F.R. §§ 402.12; 402.14(b).
17
18   If, however, the action agency or FWS determines that the activity is likely to
19
     adversely affect listed species or its critical habitat, then FWS must complete a
20
21   “Biological Opinion” to determine whether the activity will jeopardize the species
22
     or result in destruction or adverse modification of critical habitat. Id. § 402.14.
23
24         25.    During consultation, the ESA prohibits federal agencies from making
25   any irreversible or irretrievable commitment of resources with respect to the
26
     proposed agency action that would have the effect of foreclosing the formulation
27
28
29
30   COMPLAINT – 11                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1     filed 12/07/20   PageID.12 Page 12 of 85




 1   or implementation of any reasonable and prudent alternative measures that would

 2   not violate Section 7(a)(2) of the ESA. 16 U.S.C. §§ 1536(d).
 3
           26.    Once the consultation process is complete, the agencies have a duty to
 4
 5   ensure that it remains valid. Accordingly, federal action agencies must re-initiate
 6
     ESA consultation if “new information reveals effects of the action that may affect
 7
 8   listed species or critical habitat in a manner or to an extent not previously
 9
     considered,” if the action “is subsequently modified in a manner that causes an
10
11   effect to the listed species or critical habitat that was not considered in the
12   biological opinion,” or if “a new species is listed or critical habitat designated that
13
14
     may be affected by the identified action.” 50 C.F.R. § 402.16.

15   B.    The National Environmental Policy Act.
16
           27.    NEPA “is our basic national charter for protection of the
17
18   environment.” 40 C.F.R. § 1500.1(a). NEPA has two fundamental purposes: (1) to
19
     guarantee that federal agencies take a “hard look” at the consequences of their
20
21   actions before the actions occur, to ensure that “the agency, in reaching its
22
     decision, will have available, and will carefully consider, detailed information
23
24   concerning significant environmental impacts”; and (2) to ensure that “the relevant
25   information will be made available to the larger audience that may also play a role
26
     in both the decisionmaking process and the implementation of that decision.”
27
28   Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 349 (1989).
29
30   COMPLAINT – 12                                                   Kampmeier & Knutsen PLLC
                                                                       811 First Avenue, Suite 468
31
                                                                       Seattle, Washington 98104
32                                                                           (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1   filed 12/07/20   PageID.13 Page 13 of 85




 1         28.   To that end, NEPA requires federal agencies to prepare a detailed

 2   Environmental Impact Statement (“EIS”) for all major federal actions that may
 3
     significantly affect the quality of the human environment. 42 U.S.C. § 4332(2)(C).
 4
 5         29.   Under the Forest Service’s NEPA regulations, a proposal is subject to
 6
     NEPA when: (1) the agency has a goal and is actively preparing to make a decision
 7
 8   on one or more alternative means to accomplish that goal and effects can be
 9
     meaningfully evaluated; (2) the proposed action is subject to Forest Service control
10
11   and responsibility; (3) the proposed action would cause effects on the environment;
12   and (4) the proposed action is not statutorily exempt from the requirements of
13
14
     section 102(2)(C) of NEPA. 36 C.F.R. § 220.4(a).

15         30.   The Forest Service’s NEPA regulations require scoping in accordance
16
     with the requirements of 40 C.F.R. § 1501.7 for all proposed Forest Service
17
18   actions, including those that may be categorically excluded from further analysis
19
     and documentation in an Environmental Assessment (“EA”) or EIS. 36 C.F.R. §
20
21   220.4(e).
22
           31.   If a proposed agency action is not subject to a categorical exclusion
23
24   (“CE”), then the agency must prepare an EA to determine whether it needs to
25   prepare an EIS. 40 C.F.R. §§ 1501.4(b), 1508.4, 1508.9; see also 36 C.F.R. §
26
     220.6(c). An EA is a concise public document that briefly describes the proposal,
27
28   examines alternatives, considers environmental impacts, and provides a list of
29
30   COMPLAINT – 13                                                Kampmeier & Knutsen PLLC
                                                                    811 First Avenue, Suite 468
31
                                                                    Seattle, Washington 98104
32                                                                        (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.14 Page 14 of 85




 1   individuals and agencies consulted. 40 C.F.R. § 1508.9. If the agency concludes

 2   there is no significant impact associated with the proposed project or activity, it
 3
     may issue a Finding of No Significant Impact (“FONSI”) in lieu of preparing an
 4
 5   EIS. 40 C.F.R. § 1508.9(a)(1).
 6
           32.    NEPA analyses must consider a range of reasonable alternative
 7
 8   actions and thoroughly assess direct, indirect, and cumulative environmental
 9
     effects of the proposed alternative actions. 42 U.S.C. § 4332(2)(C); 40 C.F.R. Parts
10
11   1502 and 1508.
12   C.    The Travel Management Rule.
13
14
           33.    From 1982 to 2000, off-road vehicle (“ORV”) use in the United States

15   increased by over 109 percent, with all-terrain vehicle use growing 40 percent
16
     between 1997 and 2001. 70 Fed. Reg. 68,264, 68,285 (Nov. 9, 2005) (Travel
17
18   Management Rule, codified at 36 C.F.R. pt. 212, 251, 261, and 295). As a
19
     consequence, in 2005, the Forest Service overhauled the travel planning process
20
21   and finalized its “Travel Management Rule,” which is codified at 36 C.F.R. Part
22
     212. Id. at 68,264. The TMR was meant to revise outdated rules and to minimize
23
24   adverse impacts from ORVs in all National Forests in light of “growing popularity
25   and capabilities of [ORV]s . . . so that the Forest Service [could] continue to
26
     provide these opportunities while sustaining the health of [National Forest System]
27
28   lands and resources.” Id. at 68,265.
29
30   COMPLAINT – 14                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.15 Page 15 of 85




 1         34.    The TMR requires that “[m]otor vehicle use on National Forest

 2   System roads, on National Forest System trails, and in areas on National Forest
 3
     System lands shall be designated by vehicle class and, if appropriate, by time of
 4
 5   year by the responsible official on administrative units or Ranger Districts of the
 6
     National Forest System.” 36 C.F.R. § 212.51(a).
 7
 8         35.    All motorized use designations, including revisions of classes of
 9
     vehicles that may use a particular road, are to be made only after completion of a
10
11   public process that includes notice and comment consistent with agency
12   procedures under NEPA. 36 C.F.R. § 212.52(a).
13
14
           36.    Under the TMR’s “[g]eneral criteria for designation of” roads, trails,

15   and areas, the Forest Service:
16
           . . . shall consider effects on National Forest System natural and cultural
17
           resources, public safety, provision of recreational opportunities, access
18         needs, conflicts among uses of National Forest System lands, the need
19         for maintenance and administration of roads, trails, and areas that
           would arise if the uses under consideration are designated; and the
20         availability of resources for that maintenance and administration.
21
     36 C.F.R. § 212.55(a).
22
23         37.    The rule also includes “[s]pecific criteria for designation of roads”
24
     under which the Forest Service “shall consider: (1) Speed, volume, composition,
25
26   and distribution of traffic on roads; and (2) Compatibility of vehicle class with road
27
     geometry and road surfacing.” 36 C.F.R. § 212.55(c).
28
29
30   COMPLAINT – 15                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1   filed 12/07/20   PageID.16 Page 16 of 85




 1         38.    The route designation process culminates in the Forest Service’s

 2   adoption and publication of a use map “reflecting designated roads, trails, and
 3
     areas” that can be used by motor vehicles in the forest. 36 C.F.R. §§ 212.1, 212.50,
 4
 5   212.56. The use map may cover an entire forest or individual ranger district, and it
 6
     depicts routes that are open to motor vehicle use. The Forest Service’s publication
 7
 8   of a use map completes the designation process and results in the official and
 9
     enforceable prohibition of motor vehicle use anywhere off of the designated
10
11   system. 36 C.F.R. § 261.13.
12         39.    The Forest Service may subsequently revise the designations, but
13
14
     revisions “shall be made in accordance with the requirements for public

15   involvement in [36 C.F.R.] § 212.52, the requirements for coordination with
16
     governmental entities in [36 C.F.R.] § 212.53, and the criteria in [36 C.F.R.] §
17
18   212.55, and shall be reflected on a motor vehicle use map pursuant to [36 C.F.R.] §
19
     212.56.” 36 C.F.R. § 212.54.
20
21                          V.     FACTUAL BACKGROUND.
22
     A.    The Colville National Forest.
23
24         40.    The Colville National Forest is located in Ferry, Stevens, Pend
25   Oreille, and Okanogan Counties in northeast Washington. It is bordered to the
26
     north by British Columbia, Canada, to the west by the Okanogan-Wenatchee
27
28   National Forest, to the east by the Idaho Panhandle National Forests, and to the
29
30   COMPLAINT – 16                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.17 Page 17 of 85




 1   south by a portion of the Confederated Tribes of the Colville Reservation. Visitors

 2   to the Colville National Forest seek out diverse recreational opportunities,
 3
     including hiking, camping, skiing, mountaineering, biking, hunting, fishing, and
 4
 5   wildlife viewing.
 6
           41.    A diverse array of fish, wildlife and plants may be present on, inhabit,
 7
 8   or utilize the Colville, including Canada lynx, bull trout, grizzly bears, and
 9
     Western yellow-billed cuckoo. FWS listed Canada lynx as threatened under the
10
11   ESA in 2000. 65 Fed. Reg. 16,052 (March 24, 2000). FWS listed bull trout as
12   threatened in 1999. 64 Fed. Reg. 58,910 (Nov. 1, 1999). FWS designated bull trout
13
14
     critical habitat on the Colville in 2010. 75 Fed. Reg. 63,898 (Oct. 18, 2010). In

15   1975, FWS listed grizzly bears as threatened. 40 Fed. Reg. 31,734 (July 28, 1975).
16
     FWS listed the southern Selkirk population of woodland caribou as endangered in
17
18   1984. 49 Fed. Reg. 7,390 (Feb. 29, 1984). FWS designated critical habitat for
19
     woodland caribou on the Colville in 2012. 77 Fed. Reg. 71,042 (Nov. 28, 2012).
20
21   FWS listed the Western yellow-billed cuckoo as threatened in 2014. 79 Fed. Reg.
22
     59,992 (Oct. 3, 2014).
23
24   B.    Motorized Recreational Use Impacts.
25         42.    Off-road vehicles including WATVs are designed, manufactured,
26
     marketed, and sold for off-road travel.
27
28
29
30   COMPLAINT – 17                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.18 Page 18 of 85




 1         43.    Motorized recreational use, including the use of WATVs, may result

 2   in numerous adverse environmental impacts. Motorized recreational use may
 3
     degrade water quality and riparian health. Motorized recreational use may degrade
 4
 5   air quality. Motorized recreational use may damage soils and vegetation.
 6
     Motorized recreational use may spread invasive weeds. Motorized recreational use
 7
 8   may harm fish. Motorized recreational use may harm wildlife. Motorized
 9
     recreational use may cause wildfires. Motorized recreational use may harm cultural
10
11   resources.
12         44.    The noise of engines from motorized use may disrupt otherwise quiet
13
14
     forest landscapes. Recreational motorized use with high traffic volume may

15   increase disruption of otherwise quiet forest landscapes. When travelling in groups,
16
     WATVs create even more noise and disruption. Recreational motorized use with
17
18   high traffic speed may increase risks to public safety.
19
           45.    Motorized recreational use in the Colville may impair non-motorized
20
21   recreationists’ ability to enjoy natural sights, sounds, and smells. Adverse impacts
22
     from motorized recreational use is often disproportionately felt by non-motorized
23
24   recreationists. Increased motorized recreational use in the Colville may create
25   safety hazards for others.
26
           46.    Recreational motorized use of roads may fragment wildlife habitat.
27
28   Recreational motorized use of roads may displace wildlife due to noise or the
29
30   COMPLAINT – 18                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.19 Page 19 of 85




 1   presence of motorized engines in an otherwise quiet forest landscape. Recreational

 2   motorized use of roads may cause collisions between wildlife and vehicles.
 3
     Recreational motorized use of roads may kill wildlife.
 4
 5         47.    Not all operators of off-road vehicles, including WATVs, stay on
 6
     designated roads or trails.
 7
 8   C.    Motorized Use on the Colville.
 9
           48.    In 2008, the Forest Service amended the 1988 Colville Forest Plan, to
10
11   allow motor vehicle use only on designated roads, trails, and areas, and issued a
12   forest-wide motor vehicle use map. The Forest Service referred to that amendment
13
14
     as Amendment #31. Those changes were required by the TMR. Under Amendment

15   #31, prior to the decisions challenged in this case, the roads at issue in this case
16
     were only open to highway-legal vehicles and they were not open to WATVs.
17
18         49.    The Forest Service prepared an EA that analyzed expected impacts
19
     before it adopted Amendment #31. The Forest Service hosted numerous public
20
21   meetings between 2005 and 2007 to discuss the proposed Amendment #31. Before
22
     adopting Amendment #31, the Forest Service listed the proposal to amend the
23
24   Forest Plan in its formal Schedule of Proposed Actions (“SOPA”) for the Colville.
25   The Forest Service provided legal notice of the proposed Amendment #31 in the
26
     local newspaper and in a letter sent to the Colville’s travel management mailing
27
28   list. The Forest Service provided a comment period for the proposed Amendment
29
30   COMPLAINT – 19                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.20 Page 20 of 85




 1   #31, and responded in writing to comments received. The Forest Service prepared

 2   a Biological Evaluation that assessed impacts to ESA-listed species before it
 3
     adopted Amendment #31. The Biological Evaluation concluded Amendment #31
 4
 5   would result in beneficial effects to gray wolf, grizzly bear, Canada lynx,
 6
     woodland caribou, and bull trout. FWS concurred with the Forest Service’s
 7
 8   determination in the Biological Evaluation.
 9
           50.    In 2014, the Forest Service completed an EA for the South End
10
11   Project on the Colville that, among other things, changed the vehicle use
12   designations on 177 miles of roads from one that only allowed use by highway-
13
14
     legal vehicles to one that allows use by all kinds of vehicles, including WATVs.

15   The Forest Service listed the South End Project proposal in its formal SOPA for
16
     the Colville. The Forest Service provided notice of the proposed South End Project
17
18   in two local newspapers and a letter sent to individuals and groups that expressed
19
     interest in this type of project. The Forest Service held three public meetings about
20
21   the proposed South End Project. The Forest Service provided a comment period on
22
     its EA for the proposed South End Project. In response to an appeal from
23
24   Conservation Northwest and others, the Forest Service withdrew its initial decision
25   on the South End Project and prepared a supplemental analysis to more fully
26
     consider impacts to resources and wildlife. The Forest Service provided notice in a
27
28   scoping letter asking for comments on the supplemental EA for the South End
29
30   COMPLAINT – 20                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.21 Page 21 of 85




 1   Project. The Forest Service prepared a Biological Evaluation to assess impacts of

 2   the South End Project to ESA-listed species.
 3
     D.    The 2019 Designations and 2020 Use Maps.
 4
 5         51.    The vehicle use designations challenged in this lawsuit came about
 6
     because certain groups lobbied the Colville to open more roads to WATV use. The
 7
 8   Tri-County Motorized Recreation Association—a local motorized use group—first
 9
     identified specific routes in a proposal to change vehicle class designations on
10
11   certain road segments within the Colville.
12         52.    The Tri-County Motorized Recreation Association proposed the new
13
14
     vehicle use class designations to the Forest Service at a Tri-County Forest Group

15   meeting. The Tri-County Forest Group is a group of local county commissioners.
16
     The Tri-County Forest Group gathers each month to share thoughts about
17
18   recreation, timber, grazing, and other activities in northeast Washington.
19
           53.    In May of 2019, the Forest Service stated on its website that it was
20
21   considering revising vehicle use class designations for the Colville. The Forest
22
     Service stated in an email in May 2019 that the website announcement was “not
23
24   scoping, [or] a formal comment period.” The Forest Service stated that it was not
25   preparing an Environmental Assessment for its proposed action. In 2019 and 2020,
26
     the Forest Service did not include the proposed new vehicle use class designations
27
28   or proposed changes to its use maps in its formal SOPA for the Colville. In 2019
29
30   COMPLAINT – 21                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.22 Page 22 of 85




 1   and 2020, the Forest Service did not publish a press release announcing the

 2   proposed new vehicle use class designations or proposed changes to its use maps
 3
     for the Colville. In 2019 and 2020, the Forest Service did not provide notice of
 4
 5   these proposed actions to the people and entities to which it normally sends notice
 6
     of agency actions proposed for the Colville.
 7
 8         54.    The new vehicle use designations involve roads located in rural areas.
 9
     People who may have an interest in the changed designations rely on the Forest
10
11   Service’s process of providing public notice of proposed actions to be alerted about
12   potential changes to management on the Colville. Because the Forest Service did
13
14
     not follow required public processes, the public was not given sufficient notice or

15   opportunity to meaningfully comment on impacts of the proposed vehicle use
16
     designations.
17
18         55.    In September of 2019, Defendant Rodney Smoldon signed a
19
     document entitled “Rationale and Justification for MVUM changes 2019”
20
21   (hereinafter “Decision”). The Decision is attached to Plaintiffs’ notice letter. See
22
     Attachment 1 to Exhibit 1. The Decision stated that the Forest Service was
23
24   modifying the designated class of vehicles allowed on specific roads within the
25   Colville. The Decision stated that the “proposal will not cause effects that can be
26
     meaningfully evaluated on the environment or the relationship of people to that
27
28   environment.” The Forest Service issued a table with the Decision that showed
29
30   COMPLAINT – 22                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
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 1   how the Decision changed vehicle use class designations as compared to the

 2   previous use maps.
 3
           56.    The Decision changed the vehicle use class designations for 26 road
 4
 5   segments from “Roads Open to Highway Legal Vehicles” to “Roads Open to All
 6
     Vehicles.” The Decision opened 117 miles of roads to all vehicles, including
 7
 8   WATVs.
 9
           57.    In the Decision, the Forest Service stated there is a need for change
10
11   due to disconnected routes, public interest, and local elected officials’ interest. In
12   the Decision, the Forest Service explained that of the more than 700 miles of
13
14
     motorized use routes on the Colville, many of the routes are less than 5 miles long,

15   and only a small percentage create loop rides or make connections to longer routes.
16
     The Forest Service stated in the Decision that “there is much local interest from
17
18   individual users, motorized user groups, and state and local government to create a
19
     system of motorized routes that are authorized for all vehicles that create loops of a
20
21   size to create interest in the rides and that connect areas of interest like overlooks,
22
     recreational locations, towns and other locations.” The Forest Service stated in the
23
24   Decision that “the boards of county commissioners support a more common sense,
25   and complete set of routes for motorized recreation” that will “offer opportunities
26
     for loops, connectors, and longer rides.”
27
28
29
30   COMPLAINT – 23                                                   Kampmeier & Knutsen PLLC
                                                                       811 First Avenue, Suite 468
31
                                                                       Seattle, Washington 98104
32                                                                           (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.24 Page 24 of 85




 1         58.    On April 1, 2020, the Forest Service published new motor vehicle use

 2   maps that adopted the vehicle use class designation changes announced in the
 3
     Decision.
 4
 5         59.    The Decision and 2020 use maps opened roads to all vehicles that
 6
     provide connections to other roads, trails, or areas designated for off-road vehicle
 7
 8   use. The Decision and 2020 use maps created new opportunities for motorized
 9
     recreation in a loop, as opposed to out-and-back rides, for all vehicles including
10
11   WATVs in the Colville. Loop rides can be more desirable compared to out-and-
12   back rides for WATVs. Some of the new loops created by the Decision and 2020
13
14
     use maps cross Inventoried Roadless Areas that are categorized as motorized

15   backcountry in the Colville Forest Plan. Two of the motorized backcountry areas
16
     with new designations include Owl Mountain and Twin Sisters. Motorized routes
17
18   had previously been designated in Owl Mountain and Twin Sisters. The new
19
     designations connect to the existing designated motorized routes to create loop
20
21   rides within Owl Mountain and Twin Sisters. The Decision and 2020 use maps
22
     opened roads to all vehicles that connect to longer WATV routes in the Colville.
23
24   The following is an illustrative map that shows how the new designations, which
25   are shown in orange lines, create loops and longer rides by connecting to other
26
     routes designated for motorized use by all vehicles:
27
28
29
30   COMPLAINT – 24                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP     ECF No. 1    filed 12/07/20   PageID.25 Page 25 of 85




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
           60.    The Forest Service intended for the Decision and 2020 use maps to

20   increase motorized recreational vehicle access to the Colville. The Decision and
21
     2020 use maps authorized new motorized recreational vehicle access to the
22
23   Colville. The Decision and 2020 use maps increased motorized recreational vehicle
24
     use in the Colville.
25
26
27
28
29
30   COMPLAINT – 25                                                Kampmeier & Knutsen PLLC
                                                                    811 First Avenue, Suite 468
31
                                                                    Seattle, Washington 98104
32                                                                        (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.26 Page 26 of 85




 1         61.    When considered in combination with the increased popularity of

 2   riding off-road vehicles, the Decision and 2020 use maps will continue to result in
 3
     increased use of off-road vehicles including WATVs on the Colville.
 4
 5         62.    Increased motorized recreational use on the Colville will disrupt
 6
     otherwise quiet forest landscapes more often. Increased motorized recreational use
 7
 8   on the Colville will disturb other people seeking solitude on the forest. The
 9
     Decision and 2020 use maps and resulting increase in motorized recreational use
10
11   on the Colville may significantly impact wildlife. The Decision and 2020 use maps
12   and resulting increase in motorized recreational use on the Colville may
13
14
     significantly impact wildlife habitat. The Decision and 2020 use maps and

15   resulting increase in motorized recreational use on the Colville will disturb
16
     wildlife. The Decision and 2020 use maps and resulting increase in motorized
17
18   recreational use on the Colville will disrupt wildlife habitat. The Decision and
19
     2020 use maps and resulting increase in motorized recreational use on the Colville
20
21   will displace wildlife.
22
           63.    Because the Decision and 2020 use maps create loops and longer rides
23
24   by connecting roads and trails designated for all vehicles including WATVs,
25   impacts from the Decision and 2020 use maps will not be limited to the road
26
     system itself. Impacts from the Decision and 2020 use maps will occur on the trails
27
28   and surrounding areas connected into loops or longer rides by the new
29
30   COMPLAINT – 26                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.27 Page 27 of 85




 1   designations. By designating roads that connect trails and surrounding areas as

 2   open to all vehicles, including WATVs, the Decision and 2020 use maps will
 3
     increase recreational motorized use of the connected trails and surrounding areas.
 4
 5   The Decision and 2020 use maps will increase recreational motorized use off of the
 6
     road system. As a result of increasing recreational motorized use and creating
 7
 8   connections that involve off-road trails, the Decision and 2020 use maps may result
 9
     in increased risk of illegal, off-road use. The Decision and 2020 use maps may
10
11   result in increased adverse impacts to vegetation, soils, wildlife, and habitat off of
12   the road system.
13
14
           64.    On or around June 16, 2020, the Forest Service issued a press release

15   that noted “increased damage of Delaney and Calispell meadows due to motor
16
     vehicles operating off designated roads.” The Forest Service’s June 16, 2020 press
17
18   release is attached hereto as Attachment 4 to Exhibit 1.
19
           65.    The Decision and 2020 use maps opened to WATVs roads that are
20
21   located in areas where species listed as threatened or endangered under the ESA
22
     may be present. The Decision and 2020 use maps opened to WATVs roads that are
23
24   located in areas designated as critical habitat under the ESA. The Forest Service
25   did not consider or address impacts to ESA-listed species or designated critical
26
     habitat before making the Decision or issuing the 2020 use maps.
27
28
29
30   COMPLAINT – 27                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1   filed 12/07/20   PageID.28 Page 28 of 85




 1         66.    The Decision and 2020 use maps opened to WATVs roads that are

 2   located in areas where Canada lynx may be present. The Decision and 2020 use
 3
     maps may adversely affect Canada lynx by allowing increased motorized use that
 4
 5   may result in habitat fragmentation. The Decision and 2020 use maps may
 6
     adversely affect Canada lynx by allowing increased motorized use that may result
 7
 8   in displacement of lynx. The Decision and 2020 use maps may adversely affect
 9
     Canada lynx by allowing increased motorized use that may result in noise
10
11   disruption to Canada lynx. The Decision and 2020 use maps may adversely affect
12   Canada lynx by allowing increased motorized use that increases the risk of vehicle
13
14
     collision with lynx. The Decision and 2020 use maps authorize increased human

15   access to the Colville via forest roads, allowing for more hunting and, as a result,
16
     increases the risk of lynx mortality.
17
18         67.    The Decision and 2020 use maps opened to WATVs roads that are
19
     located in areas where bull trout may be present. The Decision and 2020 use maps
20
21   opened to WATVs roads that are adjacent to or that cross designated bull trout
22
     critical habitat. The Decision and 2020 use maps may adversely affect bull trout
23
24   and its designated critical habitat. Unpaved roads on the Colville are a primary
25   source of erosion and sedimentation of streams as compared to other management
26
     activities in the Forest. Accumulation of fine sediment is detrimental to bull trout
27
28   habitat. As part of its Decision, the Forest Service opened Forest Road No.
29
30   COMPLAINT – 28                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.29 Page 29 of 85




 1   1935000 to WATVs and other vehicles. Forest Road No. 1935000 runs adjacent to

 2   Harvey Creek and crosses it several times; it crosses West Branch LeClerc Creek,
 3
     Saucon Creek, and several of its tributaries; and it crosses Middle Branch LeClerk
 4
 5   Creek. Harvey Creek and LeClerk Creek are designated bull trout critical habitat.
 6
     The Decision opened Forest Road No. 1200000 to WATVs and other vehicles.
 7
 8   Forest Road No. 1200000 crosses Mill Creek several times. Mill Creek is
 9
     designated bull trout critical habitat and a tributary to the Pend Oreille River,
10
11   which is also designated bull trout critical habitat. All of these streams are within
12   watersheds identified by the Forest Service as either “Functioning at Risk” or “Not
13
14
     Properly Functioning” for bull trout.

15         68.    The Decision and 2020 use maps opened to WATVs roads that are
16
     located in areas where grizzly bear may be present. The Decision and 2020 use
17
18   maps may adversely affect grizzly bears. Authorizing increased motorized use,
19
     including use of WATVs, may result in increased human-caused mortality, habitat
20
21   displacement, habitat fragmentation, and direct habitat loss for grizzly bears.
22
     Grizzly bears are adversely impacted by motorized use through direct mortality
23
24   from vehicle strikes and illegal harvest, and indirect mortality resulting from
25   habituation to humans. Grizzly bears are also adversely impacted by roads through
26
     avoidance of key habitat as they attempt to move away from roads and road
27
28   activity; displacement from key habitat as they attempt to move away from roads
29
30   COMPLAINT – 29                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1     filed 12/07/20   PageID.30 Page 30 of 85




 1   and road activity; and modification and fragmentation of their core habitat due to

 2   roads and road construction. The presence of roads to human population centers
 3
     and the presence of dispersed motorized recreation in habitat around roads poses
 4
 5   risks to grizzly bears. Human activities can displace grizzly bears from seasonal
 6
     habitats, especially in riparian areas and wet meadows where recreation and grizzly
 7
 8   bears may overlap seasonally.
 9
           69.    The Decision and 2020 use maps opened to WATVs roads that are
10
11   located in areas where woodland caribou have been present in the past and could
12   be present in the future. The Decision and 2020 use maps may adversely affect
13
14
     woodland caribou. Roads, and motorized use of roads, may disrupt woodland

15   caribou or fragment woodland caribou habitat. The Decision and 2020 use maps
16
     authorize WATV use on roads that go through caribou recovery habitat.
17
18         70.    The Decision and 2020 use maps opened to WATVs roads that are
19
     located in areas where Western yellow-billed cuckoo may be present. The Decision
20
21   and 2020 use maps may adversely affect Western yellow-billed cuckoo. Forest
22
     Service activities that directly influence the quality and availability of habitat for
23
24   the riparian-dependent Western yellow-billed cuckoo include management of
25   forest roads, recreation sites, and vegetation treatments that occur within riparian
26
     habitats. Altered hydrology of riverine systems from channelization, and by
27
28   disturbance from activities associated with road use and recreation, construction,
29
30   COMPLAINT – 30                                                   Kampmeier & Knutsen PLLC
                                                                       811 First Avenue, Suite 468
31
                                                                       Seattle, Washington 98104
32                                                                           (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.31 Page 31 of 85




 1   and maintenance, impact wildlife habitat by making systems less dynamic. These

 2   activities can reduce effectiveness and connectivity of riparian habitat, disturb
 3
     sensitive soils, and increase sediment delivery to streams, and thereby adversely
 4
 5   affect habitats that may be used by Western yellow-billed cuckoo.
 6
           71.    The Forest Service did not consult with FWS under Section 7 of the
 7
 8   ESA, 16 U.S.C. § 1536, about the Decision or the 2020 use maps. The Forest
 9
     Service did not prepare a Biological Assessment or Biological Evaluation to
10
11   consider the impacts of the Decision or the 2020 use maps on species listed as
12   threatened or endangered under the ESA. The Forest Service did not prepare a
13
14
     Biological Assessment or Biological Evaluation to consider the impacts of the

15   Decision or the 2020 use maps on critical habitat designated under the ESA.
16
                                        VI.    CLAIMS.
17
18                               FIRST CLAIM FOR RELIEF
19
                  VIOLATIONS OF THE ENDANGERED SPECIES ACT
20
21
           72.    Plaintiffs reallege and incorporate by reference all allegations in the
22
23   preceding paragraphs.
24
           73.    Under the ESA, the Forest Service must ensure that the actions it
25
26   takes will not jeopardize the survival of any listed species or result in the
27
     destruction or adverse modification of designated critical habitat. 16 U.S.C. §
28
29
30   COMPLAINT – 31                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1   filed 12/07/20   PageID.32 Page 32 of 85




 1   1536(a)(2). To meet this requirement, the Forest Service must consult with FWS

 2   about proposed actions that “may affect” listed species or designated critical
 3
     habitat, and it must complete such consultation before proceeding with a proposed
 4
 5   action. 16 U.S.C. § 1536(a)(2); 50 C.F.R. § 402.14(a).
 6
           74.    Defendants violated Section 7 of the ESA, 16 U.S.C. § 1536, by
 7
 8   failing to initiate and complete consultation before adopting the Decision and
 9
     publishing the 2020 use maps because those actions “may affect” ESA-listed
10
11   species or designated critical habitat.
12         75.    In the alternative, Defendants violated Section 7 of the ESA, 16
13
14
     U.S.C. § 1536, by failing to reinitiate and complete consultation before adopting

15   the Decision and publishing the 2020 use maps. The Decision and 2020 use maps
16
     constitute new information that reveals effects of the action that may affect listed
17
18   species or critical habitat in a manner or to an extent not previously considered.
19
     The Decision and 2020 use maps modified the Forest Service’s motorized use
20
21   designations on the Colville in a manner that causes effects to listed species or
22
     critical habitat that were not considered in any previous consultation. Since 2009,
23
24   FWS has listed new species under the ESA, and issued new critical habitat
25   designations that include the Colville, that may be affected by the Decision and
26
     2020 use maps.
27
28
29
30   COMPLAINT – 32                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1     filed 12/07/20   PageID.33 Page 33 of 85




 1         76.     If the Forest Service consults or reinitiates consultation, the Forest

 2   Service must not make irreversible or irretrievable commitments of resources with
 3
     respect to motorized use designations on the Colville that have the effect of
 4
 5   foreclosing the formulation or implementation of any reasonable and prudent
 6
     alternative measures that would avoid jeopardizing ESA-listed species or adversely
 7
 8   modifying designated critical habitat. Allowing motorized use on the Colville in
 9
     ways that cause such irreversible or irretrievable commitment of resources pending
10
11   completion of a new consultation would violate ESA Section 7(d), 16 U.S.C. §
12   1536(d).
13
14
           77.     By failing to initiate, or reinitiate, and complete consultation before

15   adopting the Decision and 2020 use maps, the Forest Service failed to ensure
16
     against jeopardy to listed species or designated critical habitat in violation of its
17
18   mandatory, affirmative duty under section 7(a)(2) of the ESA. 16 U.S.C. §
19
     1536(a)(2).
20
21                             SECOND CLAIM FOR RELIEF
22
         VIOLATION OF THE NATIONAL ENVIRONMENTAL POLICY ACT
23
24                  Failure to Provide Notice and Opportunity to Comment
25         78.     Plaintiffs hereby incorporate by reference the allegations in all
26
     preceding paragraphs.
27
28
29
30   COMPLAINT – 33                                                   Kampmeier & Knutsen PLLC
                                                                       811 First Avenue, Suite 468
31
                                                                       Seattle, Washington 98104
32                                                                           (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.34 Page 34 of 85




 1         79.    The Forest Service must provide advance notice to allow for public

 2   comment, consistent with agency procedures under NEPA, on proposed vehicle
 3
     use designations and revisions. 36 C.F.R. §§ 212.52, 212.54.
 4
 5         80.    The Forest Service’s NEPA regulations also require scoping in
 6
     accordance with the requirements of 40 C.F.R. § 1501.7 for all proposed Forest
 7
 8   Service actions, including those that may appear to be categorically excluded from
 9
     further NEPA analysis and documentation in an EA or EIS. 36 C.F.R. § 220.4(e).
10
11   Scoping requires “an early and open process for determining the scope of issues to
12   be addressed and for identifying the significant issues related to a proposed
13
14
     action.” 40 C.F.R. § 1501.7. Agencies shall “[p]rovide public notice of NEPA-

15   related hearings, public meetings, and the availability of environmental documents
16
     so as to inform those persons and agencies who may be interested or affected.” 40
17
18   C.F.R. § 1506.6(b).
19
           81.    Defendants failed to provide sufficient advance public notice or a
20
21   sufficient opportunity for the public to comment before finalizing its Decision and
22
     publishing the 2020 use maps.
23
24         82.    The Forest Service’s failure to provide sufficient public notice and
25   opportunity for comment before finalizing its Decision and publishing the 2020 use
26
     maps violated NEPA. 42 U.S.C. § 4332(2)(C); 40 C.F.R. Part 1500 et seq.
27
28
29
30   COMPLAINT – 34                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.35 Page 35 of 85




 1         83.    The Decision and 2020 use maps are therefore arbitrary, capricious,

 2   and not in accordance with law and should be set aside pursuant to the APA. 5
 3
     U.S.C. § 706(2).
 4
 5                               THIRD CLAIM FOR RELIEF
 6
         VIOLATION OF THE NATIONAL ENVIRONMENTAL POLICY ACT
 7
 8                           Failure to Conduct a NEPA Review
 9
           84.    Plaintiffs hereby incorporate by reference the allegations presented in
10
11   all preceding paragraphs.
12         85.    The designation of a road, trail, or area for motorized travel is a
13
14
     project-level decision that requires site-specific analysis under NEPA.

15         86.    The Decision and the 2020 use maps constitute “proposed action[s]”
16
     subject to the NEPA requirements. 36 C.F.R. § 220.4(a).
17
18         87.    Before September of 2019, Defendants had a goal to make new
19
     vehicle class designations on certain roads within the Colville National Forest.
20
21   Between April and September of 2019, Defendants were preparing to make a
22
     decision on the proposed designations challenged herein. The effects of the new
23
24   vehicle class designations could have been meaningfully evaluated at that time.
25   The decision to designate roads for new vehicle classes on the Colville National
26
     Forest is subject to Defendants’ control and responsibility. The Decision and 2020
27
28
29
30   COMPLAINT – 35                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.36 Page 36 of 85




 1   use maps will result in numerous impacts on the environment that may be

 2   significant and that trigger NEPA.
 3
           88.   The Decision and the 2020 use maps are not statutorily exempt from
 4
 5   the requirements of section 102(2)(C) of NEPA. 36 C.F.R. § 220.4(a). The
 6
     Decision and 2020 use maps are not categorically excluded from NEPA review.
 7
 8         89.   Defendants failed to complete the site-specific analysis required by
 9
     NEPA for the Decision and 2020 use maps.
10
11         90.   Defendants’ failure to review the Decision and the 2020 use maps
12   pursuant to NEPA, including the failure to take a hard look at the environmental
13
14
     impacts of or reasonable alternatives to its decision, violates NEPA. 42 U.S.C. §

15   4332(2)(C); 40 C.F.R. Part 1500 et seq.
16
           91.   The Decision and 2020 use maps are therefore arbitrary, capricious,
17
18   and not in accordance with law and should be set aside pursuant to the APA. 5
19
     U.S.C. § 706(2).
20
21                            FOURTH CLAIM FOR RELIEF
22
                 VIOLATIONS OF THE TRAVEL MANAGEMENT RULE
23
24         92.   Plaintiffs reallege and incorporate by reference all allegations
25   presented in the preceding paragraphs.
26
           93.   All motorized use designations, including revisions of classes of
27
28   vehicles that may use a particular road, must be made consistent with the
29
30   COMPLAINT – 36                                                 Kampmeier & Knutsen PLLC
                                                                     811 First Avenue, Suite 468
31
                                                                     Seattle, Washington 98104
32                                                                         (206) 858-6983
      Case 2:20-cv-00450-RMP      ECF No. 1    filed 12/07/20   PageID.37 Page 37 of 85




 1   requirements for public involvement and the criteria for the designation of

 2   motorized use. 36 C.F.R. §§ 212.51(a), 212.52, 212.54, 212.55.
 3
           94.    The Forest Service violated the Travel Management Rule by failing to
 4
 5   provide notice and comment consistent with NEPA, including the requirements for
 6
     scoping, before designating roads for new vehicle classes in its Decision and
 7
 8   before publishing the 2020 use maps.
 9
           95.    In designating National Forest System roads, the Travel Management
10
11   Rule requires the Forest Service to consider effects on general criteria. 36 C.F.R. §
12   212.55(a).
13
14
           96.    The Forest Service violated the Travel Management Rule by failing to

15   sufficiently consider how the new vehicle class designations in the Decision and
16
     published on the 2020 use maps affect National Forest System natural and cultural
17
18   resources, public safety, provision of recreational opportunities, access needs,
19
     conflicts among uses, the need for maintenance and administration, and availability
20
21   of resources for that maintenance and administration.
22
           97.    In addition to the general criteria, in designating vehicle use classes
23
24   for National Forest System roads, the Travel Management Rule requires the Forest
25   Service to consider specific criteria. 36 C.F.R. § 212.55(c).
26
           98.    The Forest Service violated the Travel Management Rule by failing to
27
28   consider the specific criteria of speed, volume, composition, and distribution of
29
30   COMPLAINT – 37                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20   PageID.38 Page 38 of 85




 1   traffic on roads, and compatibility of vehicle class with road geometry and road

 2   surfacing, before finalizing the Decision and publishing the 2020 use maps.
 3
           99.    Because they violate the Travel Management Rule, the Forest
 4
 5   Service’s Decision and 2020 use maps are arbitrary, capricious, an abuse of
 6
     discretion, contrary to law, and issued without observance of procedure required by
 7
 8   law, and so should be set aside pursuant to the APA. 5 U.S.C. § 706(2).
 9
                              VII. REQUEST FOR RELIEF.
10
11         THEREFORE, Plaintiffs respectfully request that this Court:
12         A.     Declare that the Forest Service’s Decision and 2020 use maps violate
13
14
     the ESA, NEPA, the Travel Management Rule, and the APA;

15         B.     Set aside and vacate the Decision and 2020 use maps;
16
           C.     Reinstate and order compliance with former motorized use
17
18   designations and use maps;
19
           D.     Award Plaintiffs temporary, preliminary, and permanent injunctive
20
21   relief prohibiting the Forest Service from implementing the Decision and 2020 use
22
     maps pending compliance with governing law;
23
24         E.     Award Plaintiffs their reasonable fees, costs, and expenses, including
25   attorneys’ fees, associated with this litigation; and
26
           F.     Grant Plaintiffs such further and additional relief as the Court may
27
28   deem just and proper.
29
30   COMPLAINT – 38                                                  Kampmeier & Knutsen PLLC
                                                                      811 First Avenue, Suite 468
31
                                                                      Seattle, Washington 98104
32                                                                          (206) 858-6983
      Case 2:20-cv-00450-RMP   ECF No. 1   filed 12/07/20    PageID.39 Page 39 of 85




 1        Respectfully submitted this 7th day of December, 2020.

 2                                KAMPMEIER & KNUTSEN PLLC
 3
                                  By: s/ Paul Kampmeier
 4
                                      Paul Kampmeier, WSBA #31560
 5                                811 First Avenue, Suite 468
 6                                Seattle, Washington 98104
                                  Telephone: (206) 858-6983
 7                                Email: paul@kampmeierknutsen.com
 8
                                  Attorneys for Plaintiffs
 9
10                                WILDEARTH GUARDIANS
11
                                  By: s/ Marla S. Fox
12                                    Marla S. Fox, WSBA #45611
13                                P.O. Box 13086
14
                                  Portland, Oregon 97213
                                  Telephone: (651) 434-7737
15                                Email: mfox@wildearthguardians.org
16
                                  Attorneys for Plaintiff WildEarth Guardians
17
18
19
20
21
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23
24
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29
30   COMPLAINT – 39                                              Kampmeier & Knutsen PLLC
                                                                  811 First Avenue, Suite 468
31
                                                                  Seattle, Washington 98104
32                                                                      (206) 858-6983
Case 2:20-cv-00450-RMP   ECF No. 1   filed 12/07/20   PageID.40 Page 40 of 85




                     Exhibit 1
  Case 2:20-cv-00450-RMP            ECF No. 1      filed 12/07/20      PageID.41 Page 41 of 85




                                                                                September 14, 2020

Via Email and Certified Mail

Secretary David Bernhardt                       Forest Supervisor Rodney Smoldon
U.S. Department of the Interior                 Colville National Forest
1849 C Street NW                                765 South Main Street
Washington, D.C. 20240                          Colville, Washington 99114
exsec@ios.doi.gov                               rodney.smoldon@usda.gov

Chief Vicki Christiansen
U.S. Forest Service
1400 Independence Ave., SW
Washington, D.C. 20250
vcchristiansen@fs.fed.us

Re: Sixty-Day Notice of Intent to Sue the U.S. Forest Service for Violating Section 7 of the
   Endangered Species Act Regarding the Agency’s Modifications to the Vehicle Class
   Designations and Motor Vehicle Use Maps for the Colville National Forest.

Dear Secretary Bernhardt, Chief Christiansen, and Supervisor Smoldon:

         In accordance with the sixty-day notice requirement of the Endangered Species Act
(“ESA”), 16 U.S.C. § 1540(g), you are hereby notified that WildEarth Guardians and Conservation
Northwest intend to bring a civil action against the U.S. Forest Service and the officers and
supervisors to whom this letter is directed (collectively, the Forest Service) for violating Section 7 of
the ESA, 16 U.S.C. § 1536, by failing to consult or failing to reinitiate consultation before deciding
to modify the vehicle class designations and the motor vehicle use maps applicable to the Colville
National Forest. The Forest Service also violated Section 7 of the ESA by failing to ensure that
those actions are not likely to jeopardize the continued existence of species protected by the ESA, or
result in the destruction or adverse modification of critical habitat designated under the ESA, before
making those modifications. See 16 U.S.C. § 1536(a)(2). WildEarth Guardians and Conservation
Northwest intend to sue the Forest Service after the 60-day period has run unless the violations
described in this notice are remedied. Kampmeier & Knutsen PLLC represents WildEarth
Guardians and Conservation Northwest in this matter and any response to this notice of intent to
sue should be directed to us at the addresses listed below.

        The name and address of the organizations giving this Notice of Intent to Sue are:

WildEarth Guardians
P.O. Box 13086
  Case 2:20-cv-00450-RMP            ECF No. 1      filed 12/07/20     PageID.42 Page 42 of 85



Portland, OR 97213

Conservation NW
1829 10th Avenue W, Suite B
Seattle, Washington 98119

Counsel for WildEarth Guardians:

Marla Fox
WildEarth Guardians
P.O. Box 13086
Portland, Oregon 97213
(651) 434-7737

Counsel for WildEarth Guardians and Conservation NW:

Paul Kampmeier
Kampmeier & Knutsen PLLC
811 First Avenue, Suite 468
Seattle, Washington 98104
(206) 858-6983

                            Legal Background: Section 7 Consultation

        Section 2(c) of the ESA establishes that it is “the policy of Congress that all Federal . . .
agencies shall seek to conserve endangered species and threatened species and shall utilize their
authorities in furtherance of the purposes of” the ESA. 16 U.S.C. § 1531(c)(1). The purpose of the
ESA is to “provide a means whereby the ecosystems upon which endangered species and threatened
species depend may be conserved, [and] to provide a program for the conservation of such
endangered and threatened species . . . ” 16 U.S.C. § 1531(b).

        To implement this policy, Section 7(a)(2) of the ESA requires that each federal agency
consult with the U.S. Fish and Wildlife Service (“FWS”) or NOAA Fisheries (collectively, “the
Services”) to ensure that any action authorized, funded, or carried out by such agency is not likely to
(1) jeopardize the continued existence of any threatened or endangered species or (2) result in the
destruction or adverse modification of the critical habitat of such species. See 16 U.S.C. § 1536(a)(2).

        The ESA’s consultation requirement applies “to all actions in which there is discretionary
Federal involvement or control.” 50 C.F.R. § 402.03. Agency actions requiring consultation are
broadly defined by regulation to mean “all activities or programs of any kind authorized, funded, or
carried out, in whole or in part, by Federal agencies” and include “actions directly or indirectly
causing modifications to the land, water, or air.” 50 C.F.R. § 402.02.

         If species listed as threatened or endangered under the ESA may be present in the area of
agency action, the action agency must prepare a Biological Assessment (“BA”) to determine whether
a listed species may be affected by the proposed action. See 16 U.S.C. § 1536(c)(1); 50 C.F.R. §
402.12. If the agency determines that its proposed action “may affect” any listed species, the agency



                                                   2
  Case 2:20-cv-00450-RMP              ECF No. 1       filed 12/07/20       PageID.43 Page 43 of 85



must engage in “formal consultation” with the Services. 50 C.F.R. § 402.14; see also Cal. ex rel. Lockyer
v. U.S. Dep’t of Agric., 575 F.3d 99, 1018 (9th Cir. 2009) (“any possible effect, whether beneficial,
benign, adverse or of an undetermined character, triggers the requirement.” (quoting 51 Fed. Reg.
19,926, 19,949 (June 3, 1986)).

         The threshold for a “may affect” determination is very low, and ensures “actions that have
any chance of affecting listed species or critical habitat—even if it is later determined that the actions
are not likely to do so—require at least some consultation under the ESA.” Karuk Tribe of Cal. v. U.S.
Forest Serv., 681 F.3d 1006, 1028 (9th Cir. 2012). According to the Services’ Consultation handbook,
the “may affect” threshold is met if “a proposed action may pose any effects on listed species or
designated critical habitat.” U.S. Fish and Wildlife Serv. & Nat’l Marine Fisheries Serv., Endangered
Species Consultation Handbook: Procedures for Conducting Consultation and Conference Activities Under Section 7
of the Endangered Species Act at xvi (1998) (emphasis in original). The regulations implementing the
ESA require an examination of both the direct effects of the action as well as the indirect effects of
the action, which are defined as “those effects that are caused by or will result from the proposed
action and are later in time, but are still reasonably certain to occur.” 50 C.F.R. § 402.02. Therefore,
an agency must consult in every situation except when a proposed action will have “no effect” on a
listed species or critical habitat.

         If the action agency concludes in a BA that the activity is not likely to adversely affect the
listed species or adversely modify its critical habitat, and the Services concur with that conclusion in
a Letter of Concurrence, then the consultation is complete. 50 C.F.R. §§ 402.12, 402.14(b). If,
however, the action agency determines that the activity is likely to adversely affect the listed species
or its critical habitat, then the Services must complete a “biological opinion” (“BiOp”) to determine
whether the activity will jeopardize a species or result in destruction or adverse modification of
critical habitat. Id. § 402.14. If the Services determine that an action will jeopardize the species or
adversely modify critical habitat, they may propose reasonable and prudent alternative actions
intended to avoid such results. 16 U.S.C. § 1536(b)(3)(A); 50 C.F.R. § 402.14(g)(5).

        An agency’s ESA Section 7 duties do not end with the issuance of a BiOp. The action
agency “cannot abrogate its responsibility to ensure that its actions will not jeopardize a listed
species; its decision to rely on a FWS biological opinion must not have been arbitrary or capricious.”
Pyramid Lake Paiute Tribe of Indians v. U.S. Dep’t of Navy, 898 F.2d 1410, 1415 (9th Cir. 1990); see also
Defenders of Wildlife v. EPA, 420 F.3d 946, 976 (9th Cir. 2005) (rev’d on other grounds).

        Further, once the consultation is complete, the agencies have a duty to ensure that it remains
valid. To this end, an agency must re-initiate consultation in some circumstances. 50 C.F.R. § 402.16.
The ESA’s implementing regulations require the Forest Service to re-initiate consultation where
discretionary Federal involvement or control over the action has been retained or is authorized by
law and:

        (a) If the amount or extent of taking specified in the incidental take statement is exceeded;

        (b) If new information reveals effects of the action that may affect listed species or critical
        habitat in a manner or to an extent not previously considered;

        (c) If the identified action is subsequently modified in a manner that causes an effect to the
        listed species or critical habitat that was not considered in the biological opinion; or

                                                      3
  Case 2:20-cv-00450-RMP            ECF No. 1       filed 12/07/20      PageID.44 Page 44 of 85




        (d) If a new species is listed or critical habitat designated that may be affected by the
        identified action.

50 C.F.R. § 402.16.

        After consultation is initiated or reinitiated, ESA Section 7(d) prohibits the agency or any
permittee from “mak[ing] any irreversible or irretrievable commitment of resources” toward a
project that would “foreclos[e] the formulation or implementation of any reasonable and prudent
alternative measures . . . ” 16 U.S.C. § 1536(d). The 7(d) prohibition “is in force during the
consultation process and continues until the requirements of section 7(a)(2) are satisfied.” 50 C.F.R.
§ 402.09.

        Section 7(a)(4) of the ESA requires a federal action agency to conference with the Services if
the proposed action is likely to jeopardize a species proposed for listing or destroy or adversely
modify proposed critical habitat. 16 U.S.C. § 1536(a)(4); 50 C.F.R. § 402.10(a); see also 50 C.F.R. §
402.02 (defining “[c]onference” as “a process which involves informal discussions between a Federal
agency and the Service under section 7(a)(4) of the [ESA] regarding the impact of an action on
proposed species or proposed critical habitat and recommendations to minimize or avoid the
adverse effects.”). The agencies must record any results of a conference. Id. at § 401.10(e) (“The
conclusions reached during a conference and any recommendations shall be documented by the
Service and provided to the Federal agency”).

                                    FACTUAL BACKGROUND

Colville National Forest Motor Vehicle Use Map

         In 2008, the Forest Service amended the 1988 Colville Forest Plan to clarify management
direction to allow motor vehicle use only on designated roads, trails, and areas as required by the
2005 Travel Management Rule, 70 Fed. Reg. 68,264 (Nov. 9, 2005) (codified at 36 C.F.R. pt. 212,
251, 261, and 295). See April 10, 2008, Decision Notice & Finding of No Significant Impact for
Forest Plan Amendment #31 – Clarification of Forest Plan Direction Regarding Motor Vehicle Use.
The Forest Service requested informal consultation based on its 2008 Biological Evaluation that
determined Amendment #31 was not likely to adversely affect gray wolf, grizzly bear, Canada lynx,
woodland caribou, bull trout, and designated bull trout critical habitat. On April 1, 2008, FWS
concurred with the Biological Evaluation that Amendment #31 was “not likely to adversely affect”
gray wolf, grizzly bear, Canada lynx, woodland caribou, bull trout, or designated bull trout critical
habitat. The FWS based its concurrence on the fact that habitat conditions for bull trout would
improve with restricted motor vehicle use in riparian and stream habitat, and there would not be any
adverse effects to designated bull trout critical habitat. FWS noted that its concurrence was
“contingent upon implementing the project as described in the” Biological Evaluation, and the
“project should be re-analyzed if new information reveals effects of the action that may affect listed
species or critical habitat in a manner or to an extent not previously considered in this consultation.”

        In 2019, the Colville National Forest issued an addendum to the 2017 motor vehicle use
maps (“MVUMs”) for the Colville National Forest that changed the vehicle use class designations
for 26 road segments from “Roads Open to Highway Legal Vehicles” to “Roads Open to All
Vehicles.” See Attachment 1 (“Rationale and Justification for MVUM changes 2019” signed by

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  Case 2:20-cv-00450-RMP            ECF No. 1       filed 12/07/20      PageID.45 Page 45 of 85



Forest Supervisor Rodney Smoldon); Attachment 2 (maps of changes). The new MVUM
designations opened 128 miles of roads to all vehicle uses, including wheeled all-terrain vehicles
(“WATVs”). On April 1, 2020 the Forest Service published new MVUMs reflecting these changed
designations. See U.S. Forest Service, Motor Vehicle Use on the Colville National Forest (providing
hyperlinks to MVUMs), available at
https://www.fs.usda.gov/detail/colville/landmanagement/projects/?cid=fsbdev3_035243&fbclid=
IwAR2v2NUVuDfaimYQ7qPQNBjr-_tQl0rrcO7JxQVH72N3QuJZIldlru32RRs (last accessed
Sept. 4, 2020).

         The new designations created loop rides, made connections to longer routes, and increased
motorized vehicle access to the Colville National Forest. See Attachment 1. In turn, the Forest
Service anticipated the new designations would create interest in the rides and connect areas of
interest, recreational locations, towns, and other locations. Id. This would induce increased use of
the roads by off-road vehicles including WATVs. Compare Attachment 1 (describing “interest and
intent to increase the available opportunities for the use of off highway vehicles”) with U.S. Forest
Service Engineering Reports, available at
https://www.fs.usda.gov/detailfull/colville/home/?cid=fseprd658192&width=full (last accessed
Sept. 9, 2020) (analyzing the road segments prior to change in designation, many of which note
average daily traffic being less than one vehicle per day).

         Combined with increased popularity of riding off-road vehicles, the new designations will
result in significant impacts to wildlife and its habitat on the forest. Best available science shows that
motorized recreational use can harm water quality and soils, disrupt quiet landscapes, and harm
wildlife and its habitat. See, e.g., Attachment 3 (Switalski and Jones, 2012, Off-road vehicle best
management practices for forestlands: A review of scientific literature and guidance for managers).
Off-road vehicles including WATVs are designed, manufactured, and sold for off road travel.
Motorized recreational use off of roads results in more direct impacts. See, e.g., Attachment 4 (U.S.
Forest Service, June 16, 2020 press release, Damage to South-End Meadows Slows Restoration
Project on Colville National Forest) (documenting increased damage to meadows from motor
vehicles operating off designated roads). Thus, in addition to the impacts from motorized
recreational use of roads, the new designations and subsequent increase in use is likely to result in
increased risk of illegal, off-road use and more direct impacts to wildlife and its habitat.

         Species that occur on the Colville National Forest include, but are not limited to, threatened
Canada lynx, threatened bull trout and its designated critical habitat, threatened grizzly bear,
endangered woodland caribou and designated critical habitat, threatened yellow-billed cuckoo, as
well as candidate species wolverine. These species are affected by motorized use, including WATVs,
as further described below. See also Attachment 3. Thus, the Forest Service was required to consult
over the impacts of the new vehicle class designations adopted in the 2019 addendum to the 2017
MVUMs, and published in the 2020 MVUMs, before issuing those maps. To the extent the Forest
Service previously consulted over some of the designation decisions, it must reinitiate consultation
because the Forest Service modified the action in a manner that causes effects to the listed species
or critical habitat that was not considered in the prior consultation.

Canada Lynx

       The Forest Service’s decision to change the designation of certain roads on the Colville from
open to highway legal vehicles only, to open to all vehicles (including WATVs), may impact Canada

                                                    5
    Case 2:20-cv-00450-RMP          ECF No. 1      filed 12/07/20      PageID.46 Page 46 of 85



lynx. In 2000, the FWS listed Canada lynx as threatened with extinction under the ESA in part of its
range. 65 Fed. Reg. 16,052 (March 24, 2000). It identified the inadequacy of existing regulatory
mechanisms, specifically the lack of guidance for conservation of lynx and lynx habitat in Forest
Plans and Bureau of Land Management Resource Management Plans, as the primary threat to the
species. Id. at 16,052-16,086. The FWS published a clarification of findings in 2003, determining that
threatened species designation was appropriate for the lynx. 68 Fed. Reg. 40076 (July 3, 2003).

        Lynx in the contiguous United States may exist as several smaller, effectively isolated
populations. The primary factor driving lynx behavior and distribution is the distribution of
snowshoe hare, their primary prey. Metapopulation stability depends on habitat quality and
successful dispersal between isolated habitat patches. The likelihood of subpopulation persistence
declines with increasing fragmentation and isolation. Maintaining habitats to provide for dispersal
movements and interchange among individuals and subpopulations may be the most important
provision for maintenance of population viability in the Lynx Conservation Assessment and Strategy
(LCAS).1

        The FWS’s 2005 Recovery Outline for lynx identified core, secondary, and peripheral areas
based on lynx occupancy, reproduction, and use, as documented by historical and current records.
Six core areas, including the Kettle Range and Wedge, were identified in the lower 48 states to
indicate where long-term persistence of lynx had been documented and are important for lynx
recovery (see 2017 Biological Opinion for the Colville National Forest Plan Revision at 257):




1Interagency Lynx Biology Team (ILBT), Canada lynx conservation assessment and strategy (3d ed. 2013),
Forest Service Publication R1-13-19. The LCAS continues to fulfill important roles in promoting
conservation of the species on federal lands like the Colville National Forest. Id. at 4.


                                                   6
  Case 2:20-cv-00450-RMP           ECF No. 1       filed 12/07/20     PageID.47 Page 47 of 85




        Lynx have been documented in the northeastern corner of Washington state (McKelvey et
al. 2000). Lynx tracks and individual lynx have been consistently observed on the Colville National
Forest (Koehler et al. 2008, WDFW and USFS 2011). In the summers of 2016 and 2017, lynx were
captured on remote camera while surveys were being conducted in the Kettle Range. There are 37
Lynx Analysis Units (LAUs) on the Colville, 13 of which are within the Kettle-Wedge Core Area (see
2017 Biological Opinion for the Colville National Forest Plan Revision at 265):




LAUs are meant to facilitate analysis and monitoring of the effects of management actions on lynx
habitat.

        The LCAS divided threats to lynx and lynx habitat into two tiers: those that have the
potential to negatively affect lynx populations and habitat, and those that may affect individual lynx
but are not likely to have a substantial effect on lynx populations and lynx habitat. The first tier
includes climate change, vegetation management, wildland fire, and fragmentation of habitat. The
second tier includes incidental trapping, recreation, minerals and energy exploration and
development, illegal shooting, backcountry roads and trails, and domestic livestock grazing.

        Recreational motorized use of roads may impact Canada lynx in numerous ways, including
but not limited to habitat fragmentation, displacement, noise disruption, and vehicle collision.
Habitat fragmentation occurs when recreational activity displaces lynx from its habitat and impair
lynx movement and habitat connectivity. Because boreal forests along the southern part of lynx
range are inherently patchier, any additional impact from human actions is exponentially greater.


                                                   7
  Case 2:20-cv-00450-RMP              ECF No. 1    filed 12/07/20     PageID.48 Page 48 of 85



Fragmentation can result in a reduction in snowshoe hare habitat and thus snowshoe hare densities
and use by lynx (Koehler 1990a, Mowat et al. 2000. Forest roads can also become sources of lynx
mortality at high traffic volumes and speeds. In addition, human access via forest roads allows for
more hunting, and as a result increases the risk of incidental lynx mortality.

Bull Trout and its Critical Habitat

         The Forest Service’s decision to change the designation of certain roads on the Colville from
open to highway legal vehicles to open to all vehicles, including WATVs, may impact bull trout and
its designated critical habitat. In November 1999, all populations of bull trout within the
coterminous United States were listed as a threatened species under the ESA. 64 Fed. Reg. 58910
(Nov. 1, 1999). The FWS designated critical habitat for bull trout most recently on October 18,
2010. 75 Fed. Reg. 63898 (Oct. 18, 2010). The rule designated a total of 19,729 miles of stream and
488,252 acres of reservoirs and lakes in the States of Washington, Oregon, Nevada, Idaho, and
Montana as critical habitat for the bull trout. The 2015 recovery plan for bull trout identified
historical habitat loss and fragmentation, interaction with nonnative species, and fish passage issues
as the most significant primary threat factors affecting bull trout. See U.S. Fish and Wildlife Service,
2015 Recovery plan for the coterminous United States population of bull trout (Salvelinus confluentus),
page iv. The Colville National Forest falls within two recovery units in the 2015 bull trout recovery
plan: the Mid-Columbia and the Columbia Headwaters.

        The Forest Service took Environmental DNA (eDNA) samples in 2015 from all streams on
the Colville with bull trout critical habitat and detected bull trout in the West Branch of LeClerc
Creek. Bull trout have been observed in Cedar Creek, South Fork Salmo River, Slate Creek, Sullivan
Creek, Cedar Creek (Ione Creek), LeClerc Creek, Mill Creek, and Indian Creek. The eastern portion
of the Colville has designated bull trout critical habitat in Unit 31, Clark Fork River Basin (see 75
Fed. Reg. 63,898, 64,061-64,067):




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    Case 2:20-cv-00450-RMP             ECF No. 1        filed 12/07/20       PageID.49 Page 49 of 85



See also Attachment 5, 2017 Biological Opinion for the Colville National Forest Land and Resource
Management Plan Revision, page 155 (Figure 7, map of Critical Habitat and [Management Areas] in
the Pend Oreille River Watershed).

           Roads often contribute to degraded baseline conditions in watersheds containing bull trout.
See, e.g., 2017 Biological Opinion for the Colville Forest Plan Revision at 139-140. Roads are a
primary source of sediment impacts in watersheds with roads. Accumulation of fine sediment is
detrimental to bull trout habitat. Lee et al. (1997) found a pattern of decreasing populations of bull
trout with increasing road density. Sediment delivered to streams is greatest in riparian areas where
roads cross the streams. Fords and approaches to the crossings deliver sediment directly to streams.
Culverts can produce a large amount of sediment if the culvert plugs and fails. Travel management
decisions affecting roads and trails are most likely to effect substrate embeddedness2 and stream
bank condition.3 Plus roads and trails paralleling streams can interfere with large wood reaching the
stream and cause increased erosion and decreased stream bank condition.

         As just one example of how the Forest Service’s change to vehicle class designations may
impact bull trout and its designated critical habitat, the Forest Service newly designated Forest Road
No. 1935000 as open to WATVs and other vehicles. Forest Road No. 1935000 runs adjacent to and
crosses several times Harvey Creek, it crosses West Branch LeClerc Creek, it crosses Saucon Creek
and several of its tributaries, and it crosses Middle Branch LeClerk Creek. Harvey Creek and LeClerk
Creek are designated bull trout critical habitat. As another example, the Forest Service designated
Forest Road No. 1200000 as open to WATVs and other vehicles and it crosses Mill Creek several
times. Mill Creek is designated bull trout critical habitat and a tributary to Pend Oreille River which
is also designated bull trout critical habitat. All of these streams are within watersheds identified by
the Forest Service as either “Functioning at Risk” or “Not Properly Functioning” (see 2017
Biological Opinion for the Colville National Forest Plan Revision at 113):




2
  Which can be measured as change in total acreage open to motorized use, based on the assumption that embeddedness
is related to the total area susceptible to erosion.
3
  Which can be measured as an inverse of stream crossings.


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  Case 2:20-cv-00450-RMP          ECF No. 1      filed 12/07/20    PageID.50 Page 50 of 85




       Some of the stream segments are also identified as water quality impaired for stream
temperature or dissolved oxygen (see 2017 Biological Opinion for the Colville National Forest Plan
Revision at 123):




                                                10
  Case 2:20-cv-00450-RMP            ECF No. 1       filed 12/07/20     PageID.51 Page 51 of 85




        The West Branch and East Branches LeClerc Creek are priority watersheds and also key
watersheds. See 2017 Biological Opinion for the Colville National Forest Plan Revision at 134. Key
watersheds are the priority for restoration. Id. (emphasis in original). Priority watersheds are used to
target implementation of short-term, opportunistic restoration work. Id. The new MVUM
designations may affect these streams and the creatures that live there, including bull trout.
Accordingly, the FS should have consulted under the ESA to evaluate how opening new roads to
WATV use may affect bull trout and other species.

Grizzly Bears

         The Forest Service’s decision to change the designation of certain roads on the Colville from
open to highway legal vehicles only, to open to all vehicles (including WATVs), may impact grizzly
bears. In 1975 the FWS listed all grizzly bears in the contiguous United States as a threatened species
under the ESA. 40 Fed. Reg. 31,734 (July 28, 1975). In the 1975 listing, FWS determined grizzly
bears in the contiguous United States were threatened by a combination of factors. The primary
factors establishing the need to list grizzly bear were: (1) present or threatened destruction,
modification, or curtailment of habitat or range; (2) overutilization for commercial, sporting,
scientific, or educational purposes; and (3) other manmade factors affecting its continued existence.

        In the 1993 Grizzly Bear Recovery Plan, the FWS identified six recovery areas grizzly bears
are known to have inhabited and where suitable habitat available for grizzly bear conservation
remains, including: (1) the Northern Continental Divide Ecosystem (NCDE); (2) the Greater
Yellowstone Ecosystem; (3) the Cabinet-Yaak Ecosystem; (4) the Selkirk Mountains Ecosystem; (5)
the Bitterroot Ecosystem; and (6) the North Cascades Ecosystem. See U.S. Fish and Wildlife Service,
1993 Grizzly Bear Recovery Plan. The Selkirk Ecosystem Recovery Zone includes approximately
2,200 square miles of northeastern Washington, northern Idaho, and southern British Columbia,
Canada. The grizzly bear population in the Selkirk Ecosystem Recovery Area is estimated at
approximately 80 grizzly bears.

        The Selkirk Ecosystem Recovery Area has three grizzly bear management units (“GBMU”)
within the Colville National Forest: LeClerc, Salmo-Priest, and Sullivan-Hughes. See Attachment 6,
2017 Biological Opinion for the Colville Forest Plan Revision at 233 (Figure 12, map of
Management Areas, GBMUs, and Core Areas). Threats to grizzly bears in the Selkirk Ecosystem
include motorized access, human-caused mortality, small population size, and population
fragmentation that resulted in genetic isolation. Id. at 228. Forest roads overlap with the three
GBMUs on the Colville National Forest (2017 Biological Opinion for the Colville Forest Plan
Revision at 241):




                                                   11
Case 2:20-cv-00450-RMP   ECF No. 1   filed 12/07/20   PageID.52 Page 52 of 85




                                     12
  Case 2:20-cv-00450-RMP            ECF No. 1      filed 12/07/20     PageID.53 Page 53 of 85



        The FWS considers the management of roads to be one of the most important variables in
managing grizzly bear habitat. Best available science makes clear that the presence of roads can have
negative effects on natural systems and wildlife populations, including grizzly bears. See Proctor, et
al. (2020). Harmful impacts to grizzly bears from roads include (1) increased human-caused
mortality, (2) habitat displacement, (3) habitat fragmentation, and (4) direct habitat loss. Id. Grizzly
bears are adversely impacted by roads through direct mortality from vehicle strikes and illegal
harvest, and indirect mortality resulting from habituation to humans. Grizzly bears are also adversely
impacted by roads through avoidance of key habitat as they attempt to move away from roads and
road activity; through displacement from key habitat as they attempt to move away from roads and
road activity; and through modification and fragmentation of their core habitat due to roads and
road construction. The presence of roads to human population centers and the presence of
dispersed motorized recreation in habitat around roads poses risks to grizzly bears. Human activities
can displace grizzly bears from seasonal habitats, especially in riparian areas and wet meadows where
recreation and grizzly bears may overlap seasonally. See 2017 Biological Opinion for the Colville
Forest Plan Revision at 243. Access management is essential to reducing mortality risk to grizzly
bears. Roads may cause some grizzly bears to habituate to humans. Grizzly bears that are habituated
to humans suffer increased mortality risk.

        Many grizzly bears will under-use or avoid otherwise preferred habitats that are frequented
by humans due to road proximity and related opportunities for human access. This represents a
modification of normal grizzly bear behavior that can result in detrimental effects. Grizzly bears will
avoid roads and corridors adjacent to roads. Grizzly bears will also avoid roads and adjacent
corridors even when the area contains preferred habitat for breeding, feeding, shelter, and
reproduction.

        Mace and Manley (1993) reported use of habitat by all sex and age classes of grizzly bears
was less than expected where total road densities exceeded two miles per square mile. Mace and
Manley (1993) also found that adult grizzly bears used habitats less than expected when open
motorized route density exceeded one mile per square mile. Female grizzly bears in the Mace and
Manley (1993) study area tended to use habitat more than 0.5 mile from roads or trails greater than
expected. Large blocks of grizzly bear habitat free from human influence are vital to grizzly bears.
Managing public motorized access to grizzly bear habitat is one of the most common and effective
ways to maintain a level of separation between grizzly bears and humans. See 2017 Biological
Opinion for the Colville Forest Plan Revision at 232. These landscapes allow the species to exist
under natural, free-ranging conditions. Roads are the primary threat to these large blocks of grizzly
bear habitat. Roads are a primary threat because they facilitate human presence and because they
fragment large swaths of habitat into smaller blocks. The new MVUM designations may affect
grizzly bears. Accordingly, the FS should have consulted under the ESA to evaluate how opening
new roads to WATV use may affect that species.

Woodland Caribou

       The Forest Service’s decision to change the designation of certain roads on the Colville from
open to highway legal vehicles only, to open to all vehicles (including WATVs), may impact
woodland caribou. The FWS listed the southern Selkirk subpopulation of woodland caribou as
endangered under the ESA in 1984. 49 Fed. Reg. 7,390 (Feb. 29 1984). In 2012, FWS designated
approximately 30,010 acres as woodland caribou critical habitat. 77 Fed. Reg. 71042 (Nov. 28, 2012).
In 2019, FWS amended the listing of the southern Selkirk population of woodland caribou by

                                                  13
  Case 2:20-cv-00450-RMP           ECF No. 1      filed 12/07/20     PageID.54 Page 54 of 85



defining the southern mountain caribou distinct population segment (“DPS”). 84 Fed. Reg. 52,598
(Oct. 2, 2019). The southern Selkirk subpopulation of woodland caribou occurs in the southern
Selkirk Mountains of southeastern British Columbia, northeastern Washington (in Pend Oreille
County), and northern Idaho, and is the only caribou herd that ranges into the contiguous U.S. See
Wiles, G. J. 2017, Periodic status review for the woodland caribou in Washington, Washington
Department of Fish and Wildlife, Olympia, WA. See also Attachment 7, 2017 Biological Opinion for
the Colville Forest Plan Revision at 184 (Figure 10, map of Caribou Critical Habitat and Winter
Recreation).

        The range of the southern mountain caribou DPS in British Columbia, Canada, and the
United States has declined by 60 percent since historical arrival of Europeans in British Columbia.
84 Fed. Reg. at 52,599. Threats to the southern mountain caribou DPS include small, declining, and
isolated subpopulations; recent extirpation of two subpopulations; recent modeling predicting
further declines and extirpation of subpopulations; and continuing and escalating threats. Id. at
52,611. Threats to caribou habitat within the southern mountain DPS include forest harvest, human
development, recreation, and climate change. Id. at 52,612. The 1994 recovery plan for woodland
caribou included an objective to establish a herd in the western portion of the Selkirk Mountains in
Washington. See U.S. Fish and Wildlife Service 1994, Recovery Plan: Selkirk Mountain Woodland
Caribou.

        Roads, and motorized use of roads, may disrupt woodland caribou and fragment woodland
caribou habitat. 84 Fed. Reg. at 52,613; U.S. Fish and Wildlife Service, 2019, Recovery outline for
the southern mountain caribou distinct population segment of woodland caribou, page 7. Increased
road systems have generated more human activity and human disturbance in habitat that was
previously less accessible to humans. See 2017 Biological Opinion for Colville Forest Plan Revision
at 171. Human development and its associated infrastructure can eliminate caribou habitat, alters the
distribution and abundance of other ungulate species, provides travel corridors for predators, and
increases human access to habitat that was previously difficult to access. Id. at 175. Roads and
motorized access can result in poaching and accidental kills by hunters; accidental kills by vehicles;
habitat fragmentation; increased predation of caribou; and disturbance to caribou during the critical
winter period. See 2017 Biological Opinion for Colville Forest Plan Revision at 193. The new
MVUM designations may affect woodland caribou. Accordingly, the FS should have consulted
under the ESA to evaluate how opening new roads to WATV use may affect that species.

Western Yellow-billed Cuckoo

        The Forest Service’s decision to change the designation of certain roads on the Colville from
open to highway legal vehicles only, to open to all vehicles (including WATVs), may impact the
Western DPS yellow-billed cuckoo. The Western DPS of the yellow-billed cuckoo was listed as
threated under the ESA in 2014. 79 Fed. Reg. 59992 (Oct. 3, 2014). There is currently no recovery
plan for the Western yellow-billed cuckoo. The Western DPS yellow-billed cuckoo occurs across the
Western United States, including Washington (78 Fed. Reg. 61,621, 61,631 (Oct. 3, 2013)):




                                                 14
  Case 2:20-cv-00450-RMP           ECF No. 1       filed 12/07/20    PageID.55 Page 55 of 85




        The Western yellow-billed cuckoo nests almost exclusively in low to moderate elevation
multi-layered riparian woodlands that are 50 acres or larger. 78 Fed. Reg. 61,621 (Oct. 3, 2013). The
greatest factor leading to the decline of the bird has been loss of habitat in its breeding range. See
2017 Biological Opinion for Colville Forest Plan Revision at 286. Forest activities that directly
influence the quality and availability of habitat for the riparian-dependent yellow-billed cuckoo
include management of forest roads, recreation sites, and vegetation treatments that occur within
riparian habitats. Id. at 289. Altered hydrology of riverine systems from channelization by
disturbance from activities associated with road use and recreation, construction, and maintenance
impact the habitat by making systems less dynamic. Id. at 297. These activities can reduce
effectiveness and connectivity of riparian habitat, disturb sensitive soils, and increase sediment
delivery to streams. Id.

       The Western DPS yellow-billed cuckoo are extremely rare in Washington. Between 1950 and
2000 there were 12 observations, 8 of which occurred in eastern Washington near the Cascades. In
2012 a bird was observed on the Little Pend Oreille National Wildlife Refuge, and in 2015 a bird was
observed near Mazama, Washington. There are no known breeding Western yellow-billed cuckoo on
the Colville, but there is potential habitat (see 2017 Biological Opinion for Colville Forest Plan
Revision at 288-89):




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  Case 2:20-cv-00450-RMP           ECF No. 1      filed 12/07/20    PageID.56 Page 56 of 85




         The new MVUM designations may affect the western yellow-billed cuckoo. Accordingly, the
FS should have consulted under the ESA to evaluate how opening new roads to WATV use may
affect that species.

Wolverine

        The Forest Service’s decision to change the designation of certain roads on the Colville from
open to highway legal vehicles only, to open to all vehicles (including WATVs), may impact
wolverine. In 2013 the FWS proposed to list the distinct population segment of the North American
wolverine as threatened under the ESA. 78 Fed. Reg. 7864 (Feb. 4, 2013). After a district court
vacated the FWS’s 2014 withdrawal of its proposal, in 2016 the FWS reopened the public comment
period on its proposal to list the distinct population segment of wolverine occurring in the
contiguous United States as threatened under the ESA. 81 Fed. Reg. 71670 (Oct. 18, 2016). Factors
affecting the wolverine’s continued existence include projected decrease and fragmentation of
wolverine habitat and range due to climate change, trapping, lack of regulatory mechanisms to
address the threats to wolverine habitat from climate change, and loss of genetic diversity due to
small population size. Trapping has been the primary cause of wolverine mortality (Banci 1994,
Krebs et al. 2004, Lofroth and Ott 2007, Squires et al. 2007).

       Wolverines occur on the Colville National Forest (see 2017 Biological Opinion for Colville
Forest Plan Revision at 316):



                                                 16
  Case 2:20-cv-00450-RMP           ECF No. 1       filed 12/07/20     PageID.57 Page 57 of 85




         Roads – especially increased use of backcountry roads – may negatively impact wolverine.
Krebs et al. (2007) found that female wolverine habitat use was negatively associated with roaded
areas. May et al. (2006) found that wolverine natal dens were located away from roads and that this
had a positive influence on successful reproduction. By providing increased access into the forest,
roads may also increase the risk of incidental wolverine mortality due to increased trapping for other
wildlife. The new MVUM designations may affect wolverine. Accordingly, the FS should have
conferred under the ESA to evaluate how opening new roads to WATV use may affect that species.

                                        ESA VIOLATIONS

        The Forest Service violated Section 7 of the ESA, 16 U.S.C. § 1536, by failing to initiate and
complete consultation, or to reinitiate and complete consultation, on the modifications to the vehicle
use class designations and motor vehicle use maps for the Colville National Forest made in 2019 and
2020. Section 7(a)(2) of the ESA requires that each federal agency consult with the Services to
ensure that any action authorized, funded, or carried out by such agency is not likely to jeopardize
the continued existence of any threatened or endangered species or result in the destruction or
adverse modification of the critical habitat of such species. See 16 U.S.C. § 1536(a)(2).

        Here, the modifications to the vehicle use class designations and motor vehicle use maps for
the Colville National Forest made in 2019 and 2020 authorize new vehicle uses and will induce
increased vehicle traffic on approximately 128 miles of roads in the Colville National Forest. By
authorizing new vehicle traffic on those roads, the Colville National Forest has authorized and
caused increased vehicle traffic on those and other roads in the forest. These Forest Service
authorizations may affect ESA listed species that inhabit and use the Colville National Forest,
including but not limited to: threatened Canada lynx, threatened bull trout and its designated critical

                                                  17
  Case 2:20-cv-00450-RMP           ECF No. 1       filed 12/07/20     PageID.58 Page 58 of 85



habitat, threatened grizzly bear, endangered woodland caribou, threatened yellow-billed cuckoo, as
well as candidate species wolverine. The Forest Service’s failure to initiate and complete
consultation, or to reinitiate and complete consultation, on these actions violates the procedural
consultation and conferral requirements of ESA section 7. It also violates the substantive
requirements of that section by failing to ensure that the Forest Service’s actions do not jeopardize
any species protected by the ESA or adversely modify any critical habitat designated under the ESA.
These violations are significant violations of the ESA.

        Additionally, the Forest Service violated Section 7(d) of the ESA by adopting and
implementing modifications to the vehicle use class designations and motor vehicle use maps for the
Colville National Forest in 2019 and 2020 before completing adequate and lawful consultation. Such
actions constitute an “irreversible and irretrievable commitment of resources” and warrant an
injunction. See 16 U.S.C. §1536(d).

        At the conclusion of the 60-day notice period initiated by this letter, WildEarth Guardians
and Conservation Northwest intend to file a lawsuit against the U.S. Forest Service, the individuals
named above, and the individuals that administer components of that agency, under the citizen suit
provisions of the Endangered Species Act, 16 U.S.C. § 1540. WildEarth Guardians and
Conservation Northwest will seek declaratory and injunctive relief to prevent further ESA violations
and such other relief as is permitted by law, including recovery of plaintiff’s costs, attorneys’ fees,
and expert witness fees.

                                              Sincerely,

       Kampmeier & Knutsen, PLLC                               WildEarth Guardians




       By: _______________________                             By: ___________________
           Paul A. Kampmeier                                       Marla Fox




cc:    Barry Thom, Regional Administrator, NOAA Fisheries, West Coast Region, 1201 Northeast
Lloyd Boulevard, Suite 1100, Portland, Oregon 97232

State Supervisor Brad Thompson, Washington Fish and Wildlife Office, U.S. Fish and Wildlife
Service, 510 Desmond Drive SE, Suite 102, Lacey, Washington 98503

William Barr, U.S. Attorney General




                                                  18
 Case 2:20-cv-00450-RMP              ECFNotice
                                     ESA No. 1 Letter
                                                 filedAttachment
                                                       12/07/20 1PageID.59 Page 59 of 85




Rationale and Justification for MVUM changes 2019

   A.   Need for Change (36 CFR part 212.54: Designations of National Forest System roads may be
        revised as needed to meet changing conditions.)
            a.   Disconnected routes: while there are more than 700 miles of routes on the Colville
                 National Forest, many of them are less than 5 miles, and only a small percentage of
                 them create loop rides or make connections to longer routes.
            b.   Public interest: there is much local interest from individual users, motorized user
                 groups, and state and local government to create a system of motorized routes that are
                 authorized for all vehicles that create loops of a size to create interest in the rides and
                 that connect areas of interest like overlooks, recreational locations, towns and other
                 locations. There is obvious interest and intent to increase the available opportunities for
                 the use of off highway vehicles in the state of Washington as evidence by the passage of
                 the law creating WATV's and allowing their use on public roads in the state.
            c.   Local elected official's interest: Based on input from county governments in Ferry,
                 Stevens and Pend Oreille County, the boards of county commissioners support a more
                 common sense, and complete set of routes for motorized recreation. Through
                 discussions and comments to the forest it is clear that the desire of county government
                 is to examine the routes available today, and make changes as necessary to offer
                opportunities for loops, connectors, and longer rides.
    B. Specifics of the proposal
            a.   Proposed Routes (see maps provided by TCMRA)
                      i. The routes in this proposal were identified by the Tri-County Motorized
                         Recreation Association, a local user group, and have been discussed at length
                         with the Forest. All routes proposed include the following:
                             1. Modification will be to the class of vehicle authorized only, and will
                                  occur on existing open roads.
                             2.   All closures and restrictions will continue unchanged (including
                                  exclusion of cross country travel, no public use on closed roads, and any
                                  seasonal closures)
            b.   Public participation (36 CFR part 212.52): In accordance with 36 CFR part 212.52 the
                 public shall be allowed to participate in the designation of roads, trails and lands and the
                 revision of those designations. Further, advanced notice shall be given to allow for
                 public comment on proposed designations and revisions. This issue has been raised at
                 many meetings with the Tri-county Forest Group. These meetings are open to the public
                 and all are invited to provide feedback or comments. During monthly meetings over a
                 period of 6 months the Tri-county Forest Group invite~ comment and discussion of this
                 proposal. Their meetings attempted to integrate various user and stakeholder groups in
                 an attempt to come to consensus on the routes. The participants included conservation
                 groups, non-motorized users, equestrian users, industry representatives, motorized
                 users, local elected officials, and more. While there was never a consensus or complete
                 agreement on the proposal, there was opportunity to hear various thoughts, concerns
                 and opinions by the agency. Tri-county meetings are consistently attended by District
                 Rangers and other forest staff. Other opportunities to comment directly to the forest
                 have been provided beginning in June of 2019. These opportunities are continuous,
Case 2:20-cv-00450-RMP            ECF No. 1       filed 12/07/20     PageID.60 Page 60 of 85




              based on information on the forest's public facing website, and the public was invited to
              participate through notification on the Forest's social media page. Aside from the verbal
              discussions with interested parties, and at the Tri-county meetings, we've received 7
              unique comments.
                   i. I believe that the specific opportunity for public comment over the last two
                      months and the discussion in the community and Tri-county group over the last
                      18 months provided the agency enough information to adequately address and
                      co,:asider potential effects or concerns. Coupled with the level of expected
                      effects and the changes being proposed, I feel that there has been sufficient
                      opportunity to adequately consider potential effects to the human
                      environment.
                  ii. The Tri-county group· is not intended to be a decision making body, and the
                      input received from the members and attendees was used for consideration
                       only. This, with the posting of information, and further opportunity to comment,
                       allowed the Forest to evaluate and consider the poten~ial for meaningfully
                       evaluated effects to the environment.
         c.   Comment Summary: below is a summary of the types of comments received during our
              process
                    i. Some felt that just engaging with the Tri-County Forest Group wasn't adequate.
                   ii. Some felt that this process was required to undergo analysis under NEPA. We
                       assume this means documentation in a DN/FONSI or ROD.
                  iii. Some commenters felt that this would increase the use of forest roads and lead
                       to an increase in off-road travel.
                  iv. There were concerns about major impacts to the environment
                  v. There were many com,r1ents that were supportive of the proposal
 C.   Consideration of 36 CFR part 212
         a. Part 212.53: Coordinate with other government agencies
                   i. Federal
                          1. Border Patrol: we discussed this proposal with border patrol in the
                              spring of 2019. The response from the patrol agents in charge of three
                              field offices was that changing the class of vehicles on open existing
                              roads would have no effect to their activities or mission
                  ii. Local
                          1. Ferry~ Ste'(ens and Pend Oreille County: support the increased use of
                              motorized vehicles as opportunities for recreational access. This has
                              been clear through discussions in the Tri-County Forest Group
                 iii. Tribal
                          1. The Three Rivers District Ranger and the Forest Heritage Program
                              Manager met with the THPO's of the Colville, Spokane, and Kalispel
                              Tribes during the summer of 2018 and discussed this.proposal. These
                              meetings were followed by letters to the Tribal Chair of each further
                              describing our intent. No response from the tribes was received.
         b. Natural Resources
 Case 2:20-cv-00450-RMP                 ECF No. 1       filed 12/07/20     PageID.61 Page 61 of 85



                       i. Since this is only a change in the designation of vehicle class on existing open
                            roads there is no expected measurable or meaningful effects to natural
                            resources. The effects of the existing transportation system would remain
                            unchanged from the current condition. This includes soils, botany, timber,
                            cultural resources, aquatics, wildlife and fuels.
                      ii. Engineering was asked about potential increase in road use, or increase in
                          maintenance needs and found that neither were likely to occur.
             c.   Public Safety
                       i.  Mixed use analysis was completed on each of the recommended route
                           segments. This ana lysis evaluated the probability and severity of accidents along
                           each specific segment. All routes were identified as Moderate or Low risk
                           routes.
             d.   Conflicts among uses
                                1.   Location of the routes have been focused to attempt to limit conflict in
                                     areas of high non-motorized uses, and to avoid detrimental effects to
                                     other recreational opportunities
                                2.   The changes only affect the designated class of vehicle allowed on the
                                     roads, so there will be no expansion on access by motor vehicles.



Decision: Based on my review of the comments received, input from Forest Service specialists, and a
review of the regulations associated with this proposal, I am making the following two decisions:

    1.   This proposal will not cause effects that car.i be meaningfully evaluated on the environment or
         the relationship of people to that environment. Off-road travel is not authorized on the Colville
         National Forest. The potential for illegal off road use exists whether the roads are open to mixed
         use or not, and there is no realistic way to predict w here illegal use may occur or to
         meaningfully evaluate the context or intensity of this use. Forest Service Law Enforcement,
         forest recreation crews, forest damage response crews and the CNF ambassador program
         continue to enforce restrictions and educate users and we expect this to continue. Education
         that focuses on legal uses is our best tool to curb illegal off road use, and over the past few years
         we have seen declines in un-authorized use.
    2.   After careful consideration of the factors relevant to this decision, I've decided to modify the
         designated class of vehicles on the routes proposed. This decision will change the existing
         designation from use by highway legal vehicles on ly, to a designation of open to all vehicles. This
         decision affects only those routes as proposed in this process.




Rodney D. Smoldon
Forest Supervisor
  Case 2:20-cv-00450-RMP          ECF No. 1      filed 12/07/20    PageID.62 Page 62 of 85




                                 ESA Notice Letter Attachment 2

Maps of the Forest Service Designations of Roads as Open to All Vehicles
Includes Figures A through I


U.S. Forest Service, “2018-2019 MVUM Addendum Decal (updates older maps to 2020 version),”
hyperlink to spreadsheet available at:
https://www.fs.usda.gov/detail/colville/home/?cid=FSBDEV3_035243 (last accessed Sept. 4,
2020). The following statement and table are taken directly from the Forest Service’s own
spreadsheet:

“As of 08/06/2019, the designations on the following roads are changed from Roads Open to Highway
Legal Vehicles to Roads Open to All Vehicles:”
  Case 2:20-cv-00450-RMP          ECF No. 1     filed 12/07/20    PageID.63 Page 63 of 85




Figure A. Map of the Colville National Forest, with vicinity of the areas with new road
designations identified in the table above outlined in red. Figures B through X show details.




Figure B. Screen shot of the Colville’s MVUM NE map, focused on Forest Service Road
1200000 (from area 1 identified in Figure A above).
 Case 2:20-cv-00450-RMP        ECF No. 1    filed 12/07/20   PageID.64 Page 64 of 85




Figure C. Screen shot of the Colville’s MVUM NE map, focused on Forest Service Road
1934000 (from area 1 identified in Figure A above).




Figure D. Screen shot of the Colville’s MVUM NE map, focused on Forest Service Road
1935000 (from area 1 identified in Figure A above).
 Case 2:20-cv-00450-RMP       ECF No. 1     filed 12/07/20   PageID.65 Page 65 of 85




Figure E. Screen shot of the Colville’s MVUM NW1 map, focused on Forest Service Road
2113000 (area 2 identified in Figure A above).




Figure F. Screen shot of the Colville’s MVUM NW1 map, focused on Forest Service Roads
2148000, 2149000, 2150000 (area 3 identified in Figure A above).
 Case 2:20-cv-00450-RMP        ECF No. 1     filed 12/07/20   PageID.66 Page 66 of 85




Figure G. Screen shot of the Colville’s MVUM NW1 map, focused on Forest Service Roads
9576150, 9576160, 9576200, 9576215, 9576218, 9576220 (area 4 identified in Figure A above).




Figure H. Screen shot of the Colville’s MVUM SW map, focused on Forest Service Roads
5300000, 5300500, 5320000, 5330000 (area 5 identified in Figure A above).
 Case 2:20-cv-00450-RMP        ECF No. 1    filed 12/07/20   PageID.67 Page 67 of 85




Figure I. Screen shot of the Colville’s MVUM SW map, focused on Forest Service Roads
9565000, 9565080, 9565260, 9565270, 9565520, 9565800, 9565820 (area 6 identified in Figure
A above).
           Case 2:20-cv-00450-RMP            ECF No. 1 filed 12/07/20 PageID.68 Page 68 of 85
                                            ESA Notice Letter Attachment 3


                              Journal of Conservation Planning Vol 8 (2012) 12 – 24



Off-road vehicle best management practices for forestlands:
A review of scientific literature and guidance for managers

T. Adam Switalski; Allison Jones


T. Adam Switalski
Science Program Director
Wildlands CPR
PO Box 7516
Missoula, MT 59807
406-543-9551
adam@wildlandscpr.org
www.wildlandscpr.org

Allison Jones
Conservation Biologist
Wild Utah Project
824S 400W
Suite B117
Salt Lake City, UT 84101
allison@wildutahproject.org
www.wildutahproject.org



ABSTRACT: Management of off-road vehicles (ORVs) on forestlands has become increasingly challenging as various user
groups compete for a finite amount of land on which to recreate. Additionally, no uniform methods exist for managing
ORVs in forests to reduce their impacts to the environment and lessen conflicts with other user groups. The objectives of
this paper are to review recent research on the environmental and social effects of ORVs in forested landscapes, and based
upon the best available science, propose Best Management Practices (BMPs) for forestlands to help minimize ORV impacts.
We found extensive scientific literature documenting the physical and ecological effects of ORVs in forestlands, ranging from
soil compaction to non-native plant dispersal. Many species of wildlife are also affected by ORV use through direct and
indirect mortality, disturbance and cumulative loss of habitat. Conflict with non-motorized users has been documented as
well, resulting in diminished recreational experience and displacement of quiet users. The BMPs presented here for ORV
management and monitoring in forestlands should help managers provide opportunity for motorized recreation while
protecting natural resources and reducing user conflicts.

Keywords: Off-road vehicle, ORV, Best Management Practices, BMPs, erosion, stream sedimentation, invasive species,
wildlife disturbance, user conflicts



                                                             12
           Case 2:20-cv-00450-RMP                ECF No. 1         filed 12/07/20       PageID.69 Page 69 of 85
                                                                                                              Attachment A


                            Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


INTRODUCTION                                                            This paper reviews recent scientific literature on ORV effects
                                                                        on forestlands, and based upon the best available science,
Management of outdoor recreation including off-road                     proposes Best Management Practices (BMPs) to aid land
vehicles (ORVs) use is becoming increasingly challenging                managers in travel planning or in any decision-making
as more people recreate on public and private forestlands.              process related to off-road vehicle management on forested
Technological advances have given ORVs more power and                   lands. Each section reviews research on a key resource
control, allowing even beginners to access remote wildlands.            impact of ORVs, and is followed by a list of BMPs for planning
This has increased the popularity of riding ORVs, and the               and decision-making, implementation and monitoring to
potential for impacts on natural resources and conflicts                mitigate the impact. These BMPs will help transportation
between off-roaders and non-motorized forest visitors. The              managers place ORV routes in areas where they can be
environmental and social impacts of their use have been                 enjoyed by motorized recreationists while minimizing harm
well documented in hundreds of research articles, extensive             to the environment and reducing user conflicts.
literature reviews (e.g., Joslin and Youmans 1999, Schubert
and Associates 1999, Gaines et al. 2003, Davenport and                  Off-road vehicle BMPs can be easily used by a manager who
Switalski 2006, Ouren et al. 2008) and books (e.g., Knight              wants to incorporate science into creating an ecologically and
and Gutzwiller 1995, Liddle 1997, Havlick 2002). While                  socially sustainable route system. For example, research
the majority of research on this topic has focused on arid              has found that the risk of stream sedimentation and negative
locations (e.g., Webb and Wilshire 1983) and more recently              impacts on aquatic habitat are highest at stream crossings.
beach environments (e.g., Lucrezi and Schlacher 2010),                  Thus, we propose the BMP to choose route locations with
many recent studies have also addressed ORV use in                      the fewest number of stream crossings when planning a
forested landscapes.                                                    route. In another example, research found that ORVs cause
                                                                        disturbance in a number of wildlife species. Accordingly, our
Best Management Practices (BMPs) provide science-based                  BMP recommends setting levels of acceptable disturbance
criteria and standards that land managers follow in making              that are compatible with maintaining species viability.
and implementing decisions about human uses and projects                Furthermore, studies have found that closing routes benefits
that affect natural resources. BMPs are usually developed               plant and wildlife populations. We further recommend that
for a particular land use and are based on ecological                   routes be closed and restored if there is an unacceptable
considerations, legal obligations and pragmatic experience,             impact to the resource.
and should be supported by the best available scientific
knowledge. Several states have adopted ORV management                   This paper is an abridged and updated version of our
plans, policies or strategic plans (e.g., Michigan Department           original report, “Best Management Practices for Off-Road
of Natural Resources 2008, California State Parks 2009,                 Vehicle Use on Forestlands,” available online at: http://
Arizona State Parks 2010) and trail design, and construction            www.wildlandscpr.org/ORV-BMPs. These BMPs have
and maintenance manuals have been written (e.g., Wernex                 already been used during environmental analyses for travel
1994, Meyer 2002, Crimmins 2006). Unfortunately, no                     management planning on many national forests (e.g., USDA
consistent broad-based guidelines have been developed                   FS 2009, USDA FS 2010, USDI BLM and USDA FS 2010).
for planning, implementing and monitoring off-road vehicle              For example, the Ashley National Forest found them to
use on forestlands based on ecological considerations. In               be useful to fill information gaps and supplement existing
addition, most of the state plans and policies, and design and          direction (USDA FS 2009). Additionally, the Forest Service
construction manuals, tend to consider ORV trail and forest             has recently included these Best Management Practices
road design, management, maintenance and monitoring                     for reference in its report, “Comprehensive Framework for
from a viewpoint centered around legal and administrative               Off-Highway Vehicle Trail Management” (Meyer 2011). This
stipulations, user needs and desires, and avoiding soil                 official Forest Service document will be widely used in all
erosion. It is very seldom that such state plans or design              future efforts to manage off-road vehicle use on national
and construction manuals take a more ecological or holistic             forest lands.
viewpoint in deciding where to site trails, or one that stresses
consideration of multiple natural resources.


                                                                   13
           Case 2:20-cv-00450-RMP               ECF No. 1         filed 12/07/20        PageID.70 Page 70 of 85
                                                                                                              Attachment A


                            Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


METHODS                                                                (Sack and da Luz 2003, Meadows et al. 2008). This surface
                                                                       flow increases erosion of soils and can also add sediment
To identify the most current research on off-road vehicles, we         to streams (Chin et al. 2004, Ayala et al. 2005, Welsh
searched an online bibliographic database of over 20,000               2008), which degrades water quality, buries fish eggs, and
citations documenting the physical and ecological effects              generally reduces the amount and quality of aquatic habitat
of roads and off-road vehicles (http://www.wildlandscpr.org/           (Newcombe and MacDonald 1991).
bibliographic-database-search). First completed in 1995,
this database is updated every two years by Wildlands CPR              In ORV use areas, soil erosion is accelerated directly by the
by systematically searching for literature related to roads            vehicles, and indirectly by increased runoff of precipitation
and motorized recreation. The database contains a variety              and by creating conditions favorable to wind erosion.
of scientific and “grey” literature including journal articles,        Knobby and cup-shaped tires that help ORVs climb steep
conference proceedings, books, lawsuits, and agency                    slopes are responsible for major direct erosional losses
reports. The database was most recently updated in 2010                of soil. As the tire protrusions dig into the soil, forces far
using an established protocol that systematically searches             exceeding the strength of the soil are exerted, resulting
13 ecological and scientific databases. Seventeen primary              in a “rooster tail” of soil and small plants thrown behind
keywords/descriptors were used to identify research on                 the vehicle. In an Ohio forest, Sack and da Luz (2003)
any road, highway, or ORV effect (positive or negative) on             measured erosional losses in high-use ORV areas as high
ecosystems, wildlife, and natural resources. Each primary              as 209 kg/m2. Meadows et al. (2008) found that ATV trails
keyword was used alone and in Boulian combination with                 on U.S. Forest Service lands on average produced 10
89 descriptor words and phrases. Each secondary keyword                times more sediment that undisturbed soils. It has also
was used alone and in Boulian combination with primary                 been demonstrated experimentally that sediment loss
keywords and other descriptor words and phrases (for a list            increases with increased ORV traffic (Foltz 2006), and the
of keywords please contact lead author).                               greatest sediment yields occur when trails are wet (Wilson
                                                                       and Seney 1994).

Review of the Literature and Best Management                           Most soils are vulnerable to compaction and erosion
Practices                                                              due to several factors. An analysis of more than 500
                                                                       soils at more than 200 sites found that virtually all types
We found extensive research on the effects of off-road
                                                                       of soils are susceptible to ORV damage (Schubert and
vehicles (ORVs) on natural resources. Several studies
                                                                       Associates 1999). Clay-rich soils, while less sensitive to
published in the 1970s first documented the effects of
                                                                       direct mechanical displacement by ORVs, have higher
ORVs on soils in the California desert. A flurry of studies
                                                                       rates of erosion than most other soil types, and when
followed resulting in the first book dedicated to this topic,
                                                                       compacted, produce a strong surface seal that increases
Environmental Effects of Off-Road Vehicles – Impacts and
                                                                       rainwater runoff and gullying. Sandy and gravelly soils
Management in Arid Regions (Webb and Wilshire 1983).
                                                                       are susceptible to direct excavation by ORVs, and when
As ORV popularity expanded beyond the California deserts,
                                                                       stripped of vegetation, are susceptible to rapid erosion –
so did research examining its effects around the globe.
                                                                       usually by rill and gully erosion.
Impacts on streams, vegetation, and wildlife have come to
the forefront of research, as have other ecosystems such
                                                                       ORV impacts on forest soils are compounded by the loss
as beach environments and forestlands - the primary focus
                                                                       of vegetation following ORV use. Stable vegetation keeps
of this review.
                                                                       soil in place; once anchoring vegetation is removed, soil
                                                                       erosion increases. When vehicles damage or uproot
Soil Compaction and Erosion Research                                   plants, exposed soils easily become wind-blown or washed
                                                                       away by water. Wilshire et al. (1978) first described the
Weighing several hundred pounds, ORVs compress and                     direct effects of ORVs on vegetation, such as crushing and
compact soil, reducing the absorption of water into the                uprooting of foliage and root systems, as well as the indirect
soil, resulting in increased flow of water across the ground           effects caused by the concomitant erosion. The indirect


                                                                  14
           Case 2:20-cv-00450-RMP               ECF No. 1         filed 12/07/20        PageID.71 Page 71 of 85
                                                                                                             Attachment A


                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


effects include undercutting of root systems as vehicle                Best Management Practices for soils
paths are enlarged by erosion, creation of new erosion
                                                                       planning and decision-making bmps for forest soils
channels on land adjacent to vehicle-destabilized areas
due to accelerated runoff or wind erosion, burial of plants by         •   Do not locate routes in areas with highly erodible soils.
debris eroded from areas used by vehicles, and reduction
                                                                       •   Locate routes only in areas with stable soils; avoid
of biological capability of the soil by physical modification
                                                                           locating routes in areas with biological crusts.
and stripping of the more fertile upper soil layers. Biological
soil crusts (commonly found in deserts, but also present in            •   Do not locate routes to climb directly up hillslopes.
some forestlands) are particularly sensitive to wind erosion               Route grades should be kept to a minimum and not
following ORV use and take decades to recover (Belnap                      exceed an eight degree (15 %) grade.
2003).
                                                                       •   Do not locate routes above treeline or in other high
                                                                           elevation areas that are ecologically significant and/or
Stream Sedimentation Research                                              especially prone to erosion.
                                                                       •   Locate routes a minimum distance (as listed below)
While driving on roads has long been identified as a                       from waterbodies and wetlands:
major contributor to stream sedimentation (for review
see Trombulak and Frissell 2000), recent studies have                      ◦◦   Fish-bearing streams and lakes – 91 m (300 ft)
found ORV use on trails to be a significant source of fine                 ◦◦   Permanently flowing non-fish-bearing streams – 46 m
sediment in streams (Chin et al. 2004, Ayala et al. 2005,                       (150 ft)
Welsh 2008). Stream sedimentation greatly degrades
                                                                           ◦◦   Ponds, reservoirs, and wetlands greater than one
aquatic habitat (Newcomb and MacDonald 1991). For                               acre – 46 m (150 ft)
example, Chin et al. (2004) found that in watersheds with
ORV use streams contained higher percentages of sands                  •   Do not designate new routes requiring stream
and fine sediment, lower depths and lower volume – all                     crossings and prioritize closure, re-routing or creating
                                                                           bridge crossings for existing routes that have stream
characteristics of degraded stream quality.
                                                                           crossings.
While forest roads often have greater erosion potential, ORV           •   Do not locate routes in areas with soils contaminated
routes often lack culverts or bridges at stream crossings,                 by mine tailings, or mine tailings reclamation sites, at
and users often simply drive across creeks. By fording                     least until they are recovered, fully stable and able
creeks, sediment is released into the water by several                     to sustain safe ORV usage. If route construction is
mechanisms including: 1) concentration of surface runoff                   necessary, reclamation activities should be completed
through the creation of wheel ruts, 2) exposed surfaces                    prior to route construction.
from the existence of tracks, 3) increased runoff from soil            •   Close and restore routes that cause high levels
compaction, 4) vehicle backwash, and 5) undercutting of                    of erosion (e.g., raise sedimentation above Total
banks from waves (Brown 1994). A modeling exercise                         Maximum Daily Loads (TMDL) and reduce native fish
found that the average annual sediment yield from one                      population potential).
ORV stream crossing in Alabama could reach 126.8 tons/
                                                                       •   Require all motorized camping to occur in designated
ha (Ayala et al. 2005). Another study in Colorado found that
                                                                           campsites. Reclaim undesignated motorized camping
ORV trails produced six times more sediment than unpaved                   sites.
roads and delivered 0.8 mg/km2 of sediment to the stream
network each year (Welsh 2008). Coe and Hartzell (2009)
                                                                       implementation bmps for forest soils
recently reported that the well-traveled Rubicon jeep trail in
California’s Sierra Nevada Mountains had rates of stream               •   Identify the type or types of soil and steepness in
sedimentation 50 times higher than adjacent forest roads.                  the area that is being affected by ORVs and use this



                                                                  15
           Case 2:20-cv-00450-RMP               ECF No. 1         filed 12/07/20        PageID.72 Page 72 of 85
                                                                                                               Attachment A


                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


    information to prioritize mitigation efforts and create            •   Identify areas of significant amounts of bare soil or
    target management objectives to minimize erosion.                      route-widening along routes using photographs and
                                                                           route width measurements.
•   Identify where waterbodies and wetlands are located, where
    routes cross them, and whether fish are present.                   •   Monitor closed and restored routes to ensure the
                                                                           measures taken are effectively mitigating impacts to
    ◦◦   Prioritize stream crossing closures and route
                                                                           forest soils.
         relocations, and if necessary, determine appropriate
         sites for upgrades and/or bridge crossings.
                                                                       Trampling Impacts on Vegetation and the Spread
•   Ensure adequate maintenance of bridges and culverts                of Invasive Plants Research
    on routes to help prevent unauthorized stream
    crossings that might damage soils, streambanks,                    Riding a several hundred pound ORV off-route or cross-
    riparian vegetation, or other aquatic resources.                   country can crush, break, and ultimately reduce overall
•   Estimate the average soil loss for areas that are                  vegetative cover. Vehicular impacts on vegetation range
    currently and obviously negatively affected by ORVs                from selective kill-off of the most sensitive plants to complete
    using the Universal Soil Loss Equation. Close and                  loss of vegetation in large “staging areas.” Plants that do
    restore routes if the soils are determined to exceed               survive are weakened, malformed, and more susceptible
    standards for tolerable soil loss.                                 to disease and insect predation. Trampling by ORVs can
                                                                       also damage germinating seeds – even those in the soil.
•   If closing or moving a particularly damaging route is
                                                                       A study that examined ORV use on several U.S. National
    not possible, mitigate erosion with waterbars or other
                                                                       Forests found at least a 40 percent reduction in vegetation
    erosion control measures.
                                                                       following ORV traffic (Meadows et al. 2008). Similarly, in a
•   Close and restore areas that have become “mud                      desert example in southern California, Groom et al. (2007)
    bogging areas,” or are prone to “mud bogging.”                     found 4-5 times fewer plants in an ORV use area than a
                                                                       protected area. However, when one of the study areas was
•   Close and restore routes where it has been determined,
                                                                       closed to motorized use (and experienced a year of high
    through analysis, that cumulative impacts of erosive
                                                                       rainfall), there appeared to be a recovery of that population.
    activities (e.g., ORVs combined with fire, livestock
    grazing or other erosive stressors) are leading to a
                                                                       In addition to trampling effects, ORVs are a major vector for
    stream failing to meet erosion standards.
                                                                       non-native invasive plant species. With knobby tires and
•   Prioritize for closure renegade routes going directly up           large undercarriages, ORVs can unintentionally transport
    hillslopes, into wetland areas (including wet meadows),            invasive non-native species deep into forestlands. For
    or adjacent to designated routes.                                  example, one study found that in a single trip on a 16.1
•   Adaptively manage by closing or mitigating a damaging              km (10 mi) course in Montana, an ORV dispersed 2,000
    route if monitoring identifies that forest soil conditions         spotted knapweed (Centaurea stoebe) seeds (Montana
    are no longer in compliance with planning and decision-            State University 1992). In Wisconsin, a survey of seven
    making BMPs.                                                       invasive plant species along ORV routes found at least
                                                                       one of these exotic plant species on 88% of segments
                                                                       examined (Rooney 2005). ORVs in roadless areas pose
monitoring bmps for forest soils
                                                                       a particular risk of spreading invasive non-native species
•   Monitor for the amount of erosion occurring on all routes          because roadless areas often have less weeds present.
    (designated and renegade). Gather data needed for the              Gelbard and Harrison (2003) found that ORVs are the chief
    Universal Erosion Soil Loss Equation.                              vector for invasive species infestation in California roadless
                                                                       areas, which were shown to be very important refuges for
•   Regularly survey for and identify renegade off-route spurs.
                                                                       native plants. Furthermore, as a result of ORV use, the
•   Map stream crossings without culverts or bridges and               size and abundance of native plants may be reduced,
    note stream sedimentation levels and visible soil/                 which in turn permits invasive or nonnative plants to spread
    channel impacts in these areas.                                    and dominate the plant community (GAO 2009).


                                                                  16
         Case 2:20-cv-00450-RMP              ECF No. 1         filed 12/07/20       PageID.73 Page 73 of 85
                                                                                                         Attachment A


                         Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


Impacts to vegetation can have cascading effects                        to the spread of non-native invasive plants into
throughout an ecosystem. For example, on an intensively                 relatively weed-free areas.
used ORV route in Idaho, native shrubs, bunch grasses,
                                                                    •   Use native species when revegetating a closed route.
and biological crust were greatly reduced close to the route
and replaced with rabbitbrush (Chrysothamnus spp.) and              •   Modify livestock grazing practices or halt grazing in
non-native cheat grass (Bromus tectorum.; Munger et al.                 newly restored areas where routes have been closed.
2003). Because of these habitat changes, fewer reptiles
were found alongside the route than were found 100 m                monitoring bmps for vegetation
away (328 ft). In another example of cascading impacts,
                                                                    •   Monitor routes for sensitive, threatened, and/or
Waddle (2006) found that three out of four species of
                                                                        endangered plants in ORV use areas, as well as rare,
ground-dwelling anurans in Florida were negatively
                                                                        fragile and/or unique plant communities.
influenced by ORVs due to trampling of vegetation and
altered hydrology.                                                  •   Monitor for unauthorized spur routes into areas with
                                                                        sensitive, threatened, and endangered plant species.

Best Management Practices for vegetation                            •   Monitor routes for presence and spread of non-native
                                                                        species or the decline of native species.
planning and decision-making bmps for vegetation
                                                                    •   Monitor closed and restored routes to ensure effective
•   Locate routes in areas that do not have sensitive,                  mitigation for damaged vegetation is occurring.
    threatened or endangered plant species.
                                                                    •   Monitor the success of revegetation projects.
•   Locate routes where there are no unique plant
                                                                    •   Adaptively manage by closing or mitigating a route
    communities such as aspen stands, bogs, wetlands,
                                                                        if monitoring identifies that vegetation conditions are
    riparian areas and alpine habitat types.
                                                                        no longer in compliance with planning and decision-
                                                                        making BMPs.
implementation bmps for vegetation


•   Identify sensitive, threatened, and/or endangered               Wildlife Mortality, Disturbance, and Habitat Loss
    plants present in ORV use areas, as well as rare,               Research
    fragile and/or unique plant communities (i.e., aspen
    stands, bogs, wetlands, riparian, alpine areas).                Driving ORVs in forested environments has led to direct
    Record the survey information into a GIS (Geographic            and indirect impacts on wildlife. When driven at high
    Information System) database.                                   speeds, ORVs can collide with small animals and cause
                                                                    direct mortality. However, there are also many indirect
•   Close areas where sensitive, threatened and/or                  impacts that can increase wildlife mortality. For example,
    endangered plant species are at risk.                           in a review of research on mesocarnivores in the U.S.,
•   Remove invasive non-native plants from routes when              Weaver (1993) reported that ORV access increases
    feasible.                                                       the trapping vulnerability of American marten (Martes
                                                                    americana), fisher (Martes pennanti), and wolverine (Gulo
•   Prohibit motorized camping in areas where invasive
                                                                    gulo). Lynx (Lynx lynx) are also thought to be sensitive
    plants are a problem.
                                                                    to road density due to increased trapping pressure
•   Control invasive plants in staging areas to avoid their         (Singleton et al. 2002).
    spread onto routes.
                                                                    ORV use also increases access for illegal harvest of
•   Identify areas where invasive plants present a
                                                                    wildlife in areas that are difficult for game wardens to
    problem and require that all ORVs using such areas
                                                                    patrol. For wolves (Canis lupus), one study found that
    wash vehicles when exiting such areas.
                                                                    21 of 25 human-caused mortalities in the US Northern
•   Close and restore routes documented as contributing             Rockies occurred within 200 m (656 ft) of a motorized



                                                               17
           Case 2:20-cv-00450-RMP              ECF No. 1         filed 12/07/20        PageID.74 Page 74 of 85
                                                                                                             Attachment A


                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


route (Boyd and Pletscher 1999). Wolves often travel                  (2008) found that low levels of ORV disturbance in northern
on roads and off-road vehicle routes where they risk                  California did not change American marten occupancy or
increased poaching pressure. Studies in the US Great                  probability of detection. However, they did not measure
Lakes region have found that wolf persistence is reduced              the behavioral, physiological, or demographic responses.
when road density exceeds approximately 0.6 km/km2 (1
mi /mi2; Wydeven et al. 2001). Grizzly bears (Ursus arctos            Disruption of breeding and nesting birds is a particularly well
horribilis) are also at risk from poaching and have been              documented problem (for review see Hamann et al. 1999).
found to avoid open roads (e.g., Mace et al. 1996).                   Several species are sensitive to human disturbance with the
                                                                      potential disruption of courtship activities, over-exposure of
Elk (Cervus canadensis) have been the most extensively                eggs or young birds to weather, and premature fledging
studied animal in relation to motorized access and ORVs.              of juveniles. Repeated disturbance can eventually lead to
While recent studies have examined the effects of ORVs on             nest abandonment and lead to long-term bird community
elk (Vieira 2000, Wisdom et al. 2004, Naylor et al. 2009),            changes. In one example, Barton and Holmes (2007)
most studies have looked more broadly at the impacts                  found greater songbird nest desertion and abandonment
of motorized travel and roads. Research has found that                close to ORV trails in northeastern California. While they
increased motorized access results in decreased elk habitat           also found less nest predation along ORV trails, some
and security, and increased elk mortality from hunter harvest         species had lower abundance than away from ORV trails.
both legal and illegal (Hayes et al. 2002, McCorquodale et
al. 2003, see Rowland et al. 2005 for review).                        To mitigate the impacts of disturbance, several authors
                                                                      have recommended spatial nest buffer zones from human
Probably the most widespread ORV impact on wildlife                   disturbance for raptors (for review see Richardson and
is disturbance. Within individual species, a number of                Miller 1997). Closing of ORV routes has been found
factors influence the degree of disturbance, including the            to successfully restore wildlife habitat. Burger et al.
animal’s breeding status, size, and the size of the group it          (2007) found lower reproductive success of pine snakes
is with (Burger et al. 1995). Studies have shown a variety            (Pituophus melanoleucus) along ORV routes in the New
of disturbance is possible from ORVs, and while these                 Jersey Pinelands. However, after closing routes near
impacts are difficult to measure, repeated harassment of              nesting sites, the number of hatchlings increased to pre-
wildlife can result in increased energy expenditure and               disturbance levels.
reduced reproduction. Noise and disturbance from ORVs
have been shown to result in a range of effects including
increased stress (e.g., elk: Millspaugh et al. 2001), altered         Best Management Practices for wildlife
movement patterns (e.g., elk: Wisdom et al. 2004, Preisler            planning and decision-making for wildlife
et al. 2006, Naylor et al. 2009), avoidance of high-use
areas or routes (e.g., Florida panthers: Janis and Clark              •   Set levels of acceptable disturbance that are compatible
2002), and disrupted nesting activities (e.g., piping plovers:            with maintaining species viability or recovery.
Strauss 1990).                                                        •   Locate routes in areas that do not have critical habitat
                                                                          (formally designated or just important for survival)
Vieira (2000) found that elk moved twice as far from ORV                  for sensitive, threatened and/or endangered wildlife
disturbance than they did from pedestrian disturbance in                  species.
Colorado. In studies in eastern Oregon, Wisdom et al.
(2004) found that elk moved when ORVs passed within                   •   Locate new routes where they are unlikely to
1,640 m (5381 ft) but tolerated hikers within 500 m (1640                 significantly affect the populations of important native
ft), and Naylor et al. (2009) found that elk increased                    wildlife species specifically regarding reproduction,
their travel time and thus reduced time spent feeding or                  nesting, or rearing.
resting in response to ORV recreation. In some instances,                 ◦◦   Do not locate routes in areas with concentrated or
however, low levels of disturbance do not appear to affect                     particularly important ungulate fawning or calving
certain species persistence. For example, Zielinski et al.                     areas.



                                                                 18
         Case 2:20-cv-00450-RMP               ECF No. 1         filed 12/07/20        PageID.75 Page 75 of 85
                                                                                                           Attachment A


                         Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


•   Locate routes a minimum distance (as listed below)               •   If routes are already in important native wildlife
    from waterbodies and wetlands:                                       habitat, seasonally close during sensitive seasons.
    ◦◦   Fish-bearing streams and lakes – 91 m (300 ft)                  ◦◦   Calving/fawning period for known key ungulate
                                                                              calving/fawning areas (e.g., May 15 through June
    ◦◦   Permanently flowing non-fish-bearing streams –
                                                                              in the Rocky Mountain West).
         46 m (150 ft)
                                                                         ◦◦   Critical   ungulate  wintering   habitat/winter
    ◦◦   Ponds, reservoirs, and wetlands greater than one
                                                                              concentration areas (e.g., December through
         acre – 46 m (150 ft)
                                                                              March in the Rocky Mountain West).
•   Locate routes as far as possible, but a minimum of
                                                                         ◦◦   Migration corridors during migrations.
    46 m (150 ft), from natural caves, tunnels, and mines
    where bat nurseries are commonly found.                          •   Do not allow the use of ORVs off designated routes
                                                                         for game retrieval.
•   Locate routes in discrete, specified areas bounded by
    natural features (topography and vegetative cover)               •   Develop public information and educational programs
    to provide visual and acoustic barriers and to ensure                targeting ORV users to raise wildlife awareness, such as
    that secure habitat is maintained for wildlife.                      information about wildlife species in the focal area, key
                                                                         wildlife sign, and the impacts of ORVs to those species.
•   Locate routes in forest cover and not in open country.
    Long sight lines in open country make the visual                 •   Address recovering carnivores such as grizzly bears
    effects of machines more pronounced.                                 and wolves:

•   Adaptively manage routes that affect wildlife seasonal               ◦◦   Prohibit ORV use in grizzly bear habitats that
    habitat needs. Reduce route density to below 0.6 km/                      provide important food sources during spring
    km2 (1 mi/mi2) by permanently closing, or imposing                        and early summer (e.g., April 1 through July 15
    seasonal use restrictions.                                                in the Rocky Mountain West). These habitat
                                                                              components include riparian shrub types, aspen
                                                                              stands, wet meadows, and avalanche chutes.
implementation bmps for wildlife
                                                                         ◦◦   In areas with established wolf packs where there
•   Survey for sensitive, threatened, and endangered                          is a desire to reduce the potential for disturbance
    animals, as well as critical habitat (formally designated                 and the risk of illegal killing, limit ORV route
    or just important for survival), in ORV use areas.                        densities to less than 0.6 km/km2 (1 mi/mi2).
    This survey information should be catalogued and
    regularly updated in a GIS database.                             monitoring bmps for wildlife
•   Prohibit ORV use in critical habitat for sensitive,
                                                                     •   Monitor routes for sensitive, threatened,           and
    threatened, and endangered species.
                                                                         endangered animals in ORV use areas.
•   Maintain large unfragmented, undisturbed blocks of
                                                                     •   Monitor routes to identify whether they are impacting
    forestland where no routes are designated.
                                                                         the reproduction, nesting or rearing of key indicator
•   Maintain and improve habitat security by protecting                  species.
    whole areas rather than individual route closures.
                                                                     •   Monitor routes to identify whether there are
•   Reduce road/route density to below 0.6 km/km2 (1 mi/                 unauthorized spur routes, especially if they approach
    mi2) in important wildlife areas.                                    waterbodies, wetlands and bogs that are key habitats
                                                                         for amphibians and reptiles; or natural caves, tunnels
•   Conduct adequate nest searches to identify raptor nest
                                                                         and mines where bat nurseries may occur.
    sites. Seasonally close ORV areas in raptor nesting
    territories during sensitive nesting phases (e.g., March         •   Monitor use concurrently with local wildlife populations
    through August in the Rocky Mountain West).                          to determine their impact on wildlife species.




                                                                19
           Case 2:20-cv-00450-RMP                ECF No. 1         filed 12/07/20       PageID.76 Page 76 of 85
                                                                                                              Attachment A


                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


•   Monitor closed and restored routes to ensure they are               •   Prioritize motorized route designations to protect public
    effectively mitigating impacts to wildlife.                             land resources and the safety of all public land users,
                                                                            and to minimize conflicts with other recreational uses
•   Manage adaptively through closure, rerouting, or
                                                                            and nearby residences.
    mitigation if monitoring identifies that wildlife conditions
    are no longer in compliance with planning and decision-             •   Ensure that ORV use does not preclude meeting the
    making BMPs. ORV use in important wildlife habitats                     demand for hiking, equestrian and other non-motorized
    should only be allowed after peer- reviewed studies or                  recreational uses.
    data from wildlife and ORV monitoring conclude that
                                                                        •   Do not locate ORV routes on trails, areas, or
    wildlife populations will not be impaired.
                                                                            watersheds primarily used by hikers, horseback
                                                                            riders, mountain bikers, hunters, birdwatchers or other
Recreational Use Conflicts Research                                         quiet recreationists and sportsmen, particularly those
                                                                            routes where unmanaged use has lead to motorized
Conflict is defined as an emotional state of annoyance with                 encroachment on non-motorized trails.
another group or person that can result in dissatisfaction
with a specific experience (Yankoviak 2005). For example,
                                                                        implementation bmps for use conflicts
a hiker seeking quiet in nature could experience conflict
after encountering an ORV user on the same trail                        •   Undertake proactive and systematic outreach to
because the ORV use could be perceived as preventing                        motorized and non-motorized visitors in order to
the hiker from attaining his or her goal of a quiet, natural                facilitate mutual understanding of the preferences and
experience. Feelings of conflict often occur among quiet                    desired experiences of public land visitors.
users when they hear motor vehicle noise, witness acts
                                                                        •   Establish trails or recreational working groups with both
of great speed and/or reckless behavior, smell exhaust,
                                                                            motorized and non-motorized stakeholders that meet
and see visible environmental damage. This all leads to
                                                                            regularly with land managers. These groups should
reduced opportunity and displacement of non-motorized
                                                                            work cooperatively to identify and resolve use conflict
recreationists from places they would normally frequent
                                                                            in a manner consistent with agency policy.
(Moore 1994, Stokowski and LaPointe 2000).
                                                                        •   Work with agency and local law enforcement to
Both motorized and quiet recreationists prefer that trails                  implement penalties and consequences for violating
be managed for multiple uses but with motorized and                         ORV regulations that will dissuade ORV users from
non-motorized activities separated (Andereck et al.                         such violations.
2001). Where trails are designated as multiple-use, heavy
                                                                        •   Conduct surveys to establish the demand and
motorized use tends to cause other trail users to pursue
                                                                            opportunities for non-motorized recreation.
opportunities at other locations in order to realize the
desired experiences. There are numerous examples of                     •   Document use conflicts in a database that is shared
non-motorized recreationists being displaced or leaving                     with the public.
an area altogether where motorized use is common (e.g.,                 •   Match ORV use to the available management and
Moore 1994, Stokowski and LaPointe 2000, Manning and                        enforcement capacity (funding and staffing). This will
Valliere 2002).                                                             assure that resources exist to guarantee adequate
                                                                            legal enforcement along all routes.
Best Management Practices for use conflicts
                                                                        monitoring bmps for use conflicts
planning and decision-making bmps for use conflicts

                                                                        •   Use monitoring to identify use conflicts on trails, areas,
•   Designate motor-free Quiet Use Zones in both backcountry
                                                                            or watersheds traditionally used by hikers, horseback
    and front-country settings that emphasize wildlife needs
                                                                            riders, mountain bikers, hunters or other quiet
    and relatively low-impact recreational activities.
                                                                            recreationists and sportsmen.




                                                                   20
         Case 2:20-cv-00450-RMP             ECF No. 1         filed 12/07/20          PageID.77 Page 77 of 85
                                                                                                             Attachment A


                        Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


•   Monitor closed and restored routes to ensure that              LITERATURE CITED
    motorized use is not occurring.
                                                                   Andereck, K.L., C.A. Vogt, K. Larkin, and K. Frey. 2001.
•   Use monitoring data to limit or prohibit ORV access
                                                                   Differences between motorized and nonmotorized trail users.
    on routes where its use is leading to trespass onto
                                                                   Journal of Park and Recreation Administration 10(3):62-77.
    other non-motorized trails, areas or watersheds.
                                                                   Arizona State Parks. 2010. Arizona Trails 2010: A Statewide
•   Require that motorized users have identification on
                                                                   Motorized and Non-Motorized Trails Plan. Phoenix, AZ.
    vehicles equal in visibility to that found on highway
    vehicles.                                                      Ayala, R.D., P. Srivastava, C.J., Brodbeck, E.A. Carter, and T.P
•   Monitor and enforce ORV noise violations by                    McDonald. 2005. Modeling sediment transport from an off-road
    equipping law enforcement personnel with sound                 vehicle trail stream crossing using WEPP model: In: Proceedings
    meters that can be easily calibrated and used in               of the American Society of Agricultural and Biological Engineers
    the field to test noise levels of ORVs at established          Annual International Meeting. St. Joseph, MI. Paper Number
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Scientific literature has firmly established ORV use as            Boyd, D.K. and D.H. Pletscher. 1999. Characteristics of dispersal
a significant perturbation to natural forest systems and           in a colonizing wolf population in the central Rocky Mountains.
ecology as well as creating conflicts among user groups.           Journal of Wildlife Management 63:1094-1108.
This underscores the need for widely adopted off-road
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                                                                   birds in coastal New Jersey: contrasting responses of birds,
science. However, the effective implementation of these
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BMPs must be accompanied by adequate funding and
staff levels in order to ensure that necessary monitoring          Burger, J., R.T. Zappalorti, M. Gochfeld, and E. DeVito. 2007.
and legal enforcement are carried out. With adequate               Effects of off-road vehicles on reproductive success of pine
funding and application of these BMPs, forest managers             snakes (Pituophus melanoleucus) in the New Jersey pinelands.
can designate routes that will provide for motorized               Urban Ecosystems 10:275-284.
recreation opportunities while managing ORVs with
minimal harm to natural forests systems and the wildlife           California State Parks. 2009. Off-Highway Motor Vehicle
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they support.
                                                                   Sacramento, CA.


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                                                              21
            Case 2:20-cv-00450-RMP                  ECF No. 1           filed 12/07/20         PageID.78 Page 78 of 85
                                                                                                                       Attachment A


                              Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


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          Case 2:20-cv-00450-RMP                 ECF No. 1          filed 12/07/20           PageID.79 Page 79 of 85
                                                                                                                      Attachment A


                           Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


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           Case 2:20-cv-00450-RMP                 ECF No. 1          filed 12/07/20        PageID.80 Page 80 of 85
                                                                                                                  Attachment A


                             Switalski, Jones / Journal of Conservation Planning Vol 8 (2012) 12-24


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                                                                     24
 Case 2:20-cv-00450-RMP       ECF No. 1    filed 12/07/20     PageID.81 Page 81 of 85




                             ESA Notice Letter Attachment 4

Colville National Forest Press Release, available at:
https://www.fs.usda.gov/detail/colville/news-
events/?cid=FSEPRD754132&fbclid=IwAR059EPgjQgCDJQnUp5B63HOD5Yqf0GwhNFKVGyblGKf
D3WP5dtJPJ9rlos
(last accessed Sept. 4, 2020)


Damage to South-End Meadows Slows Restoration Project on
Colville National Forest
Contact: Starr Farrell (509) 684-7235

Colville, Wash., (June 16, 2020) – Colville National Forest staff and their
partners are seeing increased damage of Delaney and Calispell meadows due to
motor vehicles operating off designated roads. These meadows are located within
Pend Oreille County, approximately 22 miles northwest of Newport, Washington,
and Stevens County, approximately 20 miles northeast of Chewelah, Washington.

The Tri-County Motorized Recreation Association, Colville National Forest OHV
Ambassadors, and the Northeast Chapter of Backcountry Horsemen of Washington
teamed up with Colville National Forest Damage Response Team and OHV Field
Rangers to mitigate some of the recent damage caused by motor vehicles traveling
off established roads damaging vegetation and impacting soils in the meadows.

The South-End restoration project began in 2014 and has led to vast improvements
in upland, meadow, and riparian conditions, while also, enhancing motorized and
non-motorized recreation opportunities in the area. This recent damage slows the
progress of the project forcing limited resources to be refocused on previously
rehabilitated areas.

“OHV Ambassadors have been providing educational outreach to motorized
recreation users in the Colville National Forest for several years and has noticed this
year there has been dramatic increase in off-road damage from large 4WD pickup
trucks. Volunteer efforts to repair the damaged areas have been greatly assisted by
USFS Law Enforcement and Rangers ticketing off-road drivers who willfully damage
our forest resources,” OHV Ambassadors Merrill and Anne Ott stated. “We are
expanding our outreach to inform and educate forest visitors about staying on
approved roads to hopefully prevent future problems.”

The Colville National Forest and our partners ask for your help in protecting these
fragile resources. We encourage visitors to practice the TREAD Lightly principles by
 Case 2:20-cv-00450-RMP      ECF No. 1   filed 12/07/20   PageID.82 Page 82 of 85




traveling on designated roads. If you see someone damaging the meadows,
please report it to any Colville National Forest office.

Download and use the free digital MVUM, Motor Vehicle Use Maps, provided by
Avenza to more effectively track your position while traveling along one of our more
than 800 miles of roads. For any additional questions please feel free to contact
the Colville National Forest online, or over the phone at (509) 684-7000.
 Case 2:20-cv-00450-RMP ECF No. 1 filed 12/07/20            PageID.83 Page 83 of 85
                       ESA Notice Letter Attachment 5




Figure 7. Critical Habitat and MAs in the Pend Oreille River Watershed.



                                          155
 Case 2:20-cv-00450-RMP ECF No. 1 filed 12/07/20            PageID.84 Page 84 of 85
                      ESA Notice Letter Attachment 6




Figure 12. Management Areas, GBMUs, and Core Area.
The MAs that particularly provide habitats with limited human use and motorized access
include: Congressionally Designated Wilderness, Recommended Wilderness, Backcountry, and
Research Natural Areas. These management areas, with their associated desired conditions,


                                           233
 Case 2:20-cv-00450-RMP ECF No. 1 filed 12/07/20             PageID.85 Page 85 of 85
                     ESA Notice Letter Attachment 7




Figure 10. Caribou Critical Habitat and Winter Recreation (from BA Fig.9 p.140).
Conservation Role of the Action Area for Caribou and Critical Habitat

The CNF includes 4 of 17 caribou management areas within the caribou recovery area (USFWS
1994) in the U.S, and manages 98,093 acres in the caribou recovery area (more recent
calculations are 99,513 acres; K. Honeycutt, 2017, in litt.).




                                           184
